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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


    In re:                                                               Chapter 11

    23ANDME HOLDING CO., et al.,1                                        Case No. 25-40976

                             Debtors.                                    (Joint Administration Requested)


                         DECLARATION OF MATTHEW KVARDA
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

                   Pursuant to 28 U.S.C. § 1746, I, Matthew Kvarda, do hereby declare, under penalty

of perjury, the following to the best of my information, knowledge, and belief:

                   1.       I am the Chief Restructuring Officer of 23andMe Holding Co., a Delaware

corporation (collectively with its affiliated debtors and debtors in possession in the above-

captioned chapter 11 cases, the “Debtors” and, the Debtors with their non-Debtor affiliates,2

“23andMe” or the “Company”).

                                                   Introduction

                   2.       23andMe is a leading human genetics and telehealth company with a

mission to help people access, understand and benefit from the human genome. The Company

pioneered direct-to-consumer genetic testing through its saliva collection kits, providing customers

with access to unique, personalized information about their ancestry, genetic traits and health risks

through its Personal Genome Service® (“PGS”) offerings. Through its collection of genetic

information, 23andMe has developed one of the world’s largest crowdsourced platforms for



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address
      for purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA, 94102.
2
      Non-Debtor affiliates exclude any controlling shareholder of 23andMe Holding Co.
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genetic research comprised of data from over 15 million customers. The scale of 23andMe’s

growing database of genetic information has enabled the Company to make over 100 health and

carrier status reports available to its customers in the United States. Moreover, 23andMe is the

only company to have Food & Drug Administration (“FDA”) authorization, clearance or an

exemption from premarket notification for all of the carrier status, genetic health risk, cancer

predisposition and pharmacogenetics reports that it offers to its customers. Additionally, insights

from the Company’s expansive genetic database have promoted opportunities for the identification

and validation of candidates for new drug development, which are primarily advanced through the

Company’s collaborations with universities, research institutions and pharmaceutical companies.

               3.     The Company also operates a telehealth platform (“Lemonaid” or

“Lemonaid Health”) that provides customers access to personalized healthcare services and

affordable, online medical care through licensed healthcare professionals. Patients can also use

Lemonaid Health’s online pharmacy for fulfillment when medications are prescribed by Lemonaid

Health’s affiliated healthcare professionals. Lemonaid Health allows the Company to further its

mission of enabling people to use their genetic health information to live healthier lives,

particularly as it relates to customers who choose to integrate their 23andMe genetic information

with Lemonaid’s telehealth services.

               4.     Despite the revolutionary nature of the Company’s business and its positive

impacts on the lives of millions of its customers, the Company has not been immune to challenges

arising from external market conditions and other developments. Over the last three years, rising

inflation has increased the Company’s operating expenses while downward trends in discretionary

consumer spending negatively impacted sales of 23andMe’s products and services. Additionally,

over the past few years, consumer interest and demand for genetic testing kits declined. At the




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same time, competition in the genetic ancestry testing space and consumer price sensitivity put

downward pressure on the average sales price of the Company’s saliva collection kits and other

PGS offerings. The Company has focused on increasing the value proposition to customers

through enhanced products and features, but the often “one-time” nature of sales involving the

Company’s saliva collection kits resulted in a shrinking customer base and declining topline

revenues.

                  5.     The telehealth space has also become increasingly crowded and requires

substantial marketing investment to differentiate among peers who provide similar offerings.

However, the Company’s liquidity constraints limited its ability to invest in Lemonaid Health and

thus, hindered the growth of this business. Moreover, the Company’s business model of using its

PGS revenues to fund its now-discontinued Therapeutics business proved unsustainable, with the

consumer-facing divisions not generating enough recurring revenue to cover the high costs of

research and development (“R&D”).

                  6.     The confluence of these factors has imposed severe liquidity pressures on

the Company. In addition, in October 2023, the Company identified and disclosed a data breach

(the “Cyber Security Incident”), which resulted in numerous actions being filed or threatened

against the Company in United States (“U.S.”) federal and state courts, Canada and the United

Kingdom (“U.K.”), as well as the initiation of various domestic and foreign governmental

investigations.

                  7.     In light of these challenges, Ms. Anne Wojcicki, the Company’s then Chief

Executive Officer, co-founder, controlling stockholder and Chair of the board of directors of

23andMe Holding Co. (the “Board”), communicated to the Board that she was exploring the

possibility of taking the Company private. In March 2024, the Board formed a special committee




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of independent and disinterested directors (the “Special Committee”) to review and evaluate

strategic alternatives that might be available to the Company, including any proposal from Ms.

Wojcicki. However, this initial process did not present any actionable transaction alternatives for

the Company. In September 2024, the then-serving independent directors of the Board, including

the then-serving members of the Special Committee, resigned.

               8.      In October 2024, three new independent and disinterested directors were

appointed to the Board as well as to the Special Committee, with the authority to review and

evaluate strategic alternatives that might be available to the Company. In November 2024, under

the supervision of the repopulated Special Committee, the Company implemented cost-cutting

measures to improve its financial condition and restructured its operations, including by reducing

headcount and shutting down its Therapeutics division (described below) in order to focus on the

long-term success of its core consumer business and research partnerships. Although these efforts

helped streamline the business and generate cost savings, the Company determined that it would

still require additional capital, either in the form of outside financing or a sale of all or a portion

of its assets, to address the Company’s deteriorating liquidity position. To that end, in January

2025, under the authority of the Special Committee and with the assistance of its investment

banker, Moelis & Company LLC (“Moelis”), the Company expanded its efforts to explore and

evaluate potential third-party interest in a sale of the Company or all or a portion of its assets.

               9.      Despite receiving multiple indications of interest—including proposals

from Ms. Wojcicki—the Special Committee determined that the proposals either were

(a) preliminary in nature and not currently actionable, (b) not actionable on an out-of-court basis

or (c) otherwise not in the best interest of the Company and its stakeholders. Accordingly, the

Company determined that, given its limited cash position and operating cash burn, as well as the




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uncertainty surrounding the scope and extent of liabilities arising from the Cyber Security Incident,

commencing these cases to stabilize the business and monetize its assets on a “free and clear” basis

through a chapter 11 plan or sale pursuant to section 363 of the Bankruptcy Code, provided the

best path to maximize value for the benefit of the Company’s stakeholders.

               10.     To ensure the Debtors’ ability to run an efficient and expeditious sale

process and continue operations in the ordinary course, the Debtors have secured a commitment

from JMB Capital Partners Lending, LLC to provide a debtor-in-possession financing facility of

up to $35 million (the “DIP Facility”). The DIP Facility will provide liquidity to support the

Debtors’ continued operations and fulfill commitments to its valued customers, employees, and

vendors during the chapter 11 cases, while maintaining momentum on its sale process with a goal

of maximizing value for the benefit of all stakeholders. As further described below, the Debtors

will fund these chapter 11 cases with unrestricted cash on hand until approval of the DIP Facility

on a final basis at the second day hearing.

               11.     In commencing these cases, the Company intends to (a) continue the

Prepetition Marketing Process (as defined below) through a fair, robust, and transparent marketing

process to maximize the value of the Company’s assets through one or more sale transactions,

(b) utilize the chapter 11 “toolkit” to preserve and maximize the value of its assets for the benefit

of all stakeholders, and (c) move these cases forward as efficiently and expeditiously as possible

to maximize distributions to stakeholders through a confirmed chapter 11 plan following the

conclusion of the marketing process.

                                 Background and Qualifications

               12.     I am a Managing Director at Alvarez & Marsal North America, LLC

(“A&M”). I received my Bachelor of Arts from the University of California at San Diego and a

Masters in Business Administration from the University of California at Los Angeles. I am also a


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Certified Insolvency and Restructuring Advisor. I have over 30 years of distressed company

advisory experience, and my primary areas of focus include formulating and evaluating strategic

business plans and developing cash and liquidity forecasting and monitoring programs.

               13.     I have advised clients in numerous complex chapter 11 cases, including

Revlon, Inc., Penn Virginia Corp., Oakwood Homes Corporation, Denbury Resources Inc., Las

Vegas Monorail Company, People’s Choice Home Loan, Inc., and 155 East Tropicana LLC, a/k/a

Hooters Hotel and Casino, among others. I previously served as the Chief Restructuring Officer

during the chapter 11 cases of People’s Choice Home Loan, Inc. and have also served as Chief

Restructuring Officer in non-public situations.       I have also served as interim Chief Financial

Officer of distressed and non-distressed companies in both in-court chapter 11 proceedings and

out-of-court restructurings, including Revlon, Inc., TEAM, Inc., and Jacuzzi Brands Corp. I have

substantial knowledge and experience advising large companies and assisting financially

distressed organizations with stabilizing their financial condition, developing business plans, and

assessing restructuring alternatives.

               14.     In addition, I, along with my team at A&M, are intimately familiar with the

Debtors’ businesses, financial affairs, and capital structure. Since A&M’s initial engagement by

the Company on January 28, 2025, my team and I have worked closely with the Debtors’

management and other professionals in assisting with the myriad requirements of these chapter 11

cases. Consequently, in my capacity as Chief Restructuring Officer, I have developed significant

relevant experience and expertise regarding the Debtors, their operations, day-to-day business

affairs, books and records and the unique circumstances leading to the commencement of these

cases.




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               15.     I submit this declaration (this “Declaration”) to assist the Court and parties-

in-interest in gaining an understanding of the Company, its capital structure, the circumstances

that led to the commencement of these chapter 11 cases (collectively, the “Chapter 11 Cases”), the

Company’s plans to emerge from chapter 11, and in support of the Debtors’ petitions and motions

requesting various types of “first day” relief (collectively, the “First Day Motions”). I am

authorized by the Debtors to submit this Declaration. If called as a witness, I could and would

testify competently to the facts set forth in this Declaration.

               16.     Except as otherwise indicated herein, the facts set forth in this Declaration

are based upon my personal knowledge, my review of relevant documents, my discussions with

members of the Debtors’ senior management, and information provided to me by the Debtors’

professional advisors, including:       (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP

(“Paul, Weiss”) and Carmody MacDonald P.C., as restructuring co-counsel to the Debtors;

(ii) Goodwin Procter LLP (“Goodwin Procter”), as counsel to the Special Committee; (iii) Moelis,

as investment banker to the Debtors and the Special Committee; and (iv) A&M, as financial

advisor to the Debtors.

               17.     On the date hereof (the “Petition Date”), each Debtor filed a voluntary

petition for relief with the United States Bankruptcy Court for the Eastern District of Missouri

(the “Court”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

thereby commencing the Chapter 11 Cases. The Debtors have filed a motion seeking joint

administration of the Chapter 11 Cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure. The Debtors intend to operate their business and manage their properties

as debtors in possession during the pendency of the Chapter 11 Cases. No trustee or examiner has




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been appointed in the Chapter 11 Cases. As of the date hereof, no statutory committees have been

appointed at this time.

               18.        Part I of this Declaration describes the Debtors’ business, including their

history, organizational structure, business operations, and prepetition capital structure. Part II

describes the events and circumstances leading to the commencement of these Chapter 11 Cases,

including the Debtors’ prepetition marketing processes. Finally, Part III sets forth the relevant

facts in support of the First Day Motions and summarizes the relief requested thereby.

I.     General Background

       A.      The Debtors’ History

               19.        In 2006, Ms. Wojcicki co-founded the Company with Linda Avey and Paul

Cusenza under the name 23andMe, Inc., as the first direct-to-consumer genetic testing company.

Today, 23andMe is a leading direct-to-consumer genetic testing company, having built one of the

world’s largest crowdsourced platform for genetic research, with data from over 15 million

customers, and is the first company of its kind to offer reports authorized by the FDA on genetic

health risks, carrier status, and pharmacogenetics. By providing direct access to their genetic

information, personalized reports, actionable insights and digital access to affordable healthcare

professionals through the Company’s telehealth platform, the Company empowers its customers

to not only understand their genetic information but also to optimize their health leveraging

insights from such information.

               20.        In June 2021, the Company’s predecessor, VG Acquisition Corp.

(“VGAC”), a special purpose acquisition company sponsored by Sir Richard Branson’s Virgin

Group, and Chrome Merger Sub, Inc. (“Merger Sub”), a wholly-owned direct subsidiary of

VGAC, consummated a merger with 23andMe, Inc. (the “Merger”), whereby MergerSub merged

with and into 23andMe, Inc., with 23andMe, Inc. being the surviving corporation and a wholly-


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owned subsidiary of VGAC. Upon the closing of the Merger, VGAC changed its name to

23andMe Holding Co., and Class A Common stock and public warrants of the Company began

trading on the Nasdaq Global Select Market under the ticker symbols “ME” and “MEUSW,”

respectively, starting on June 17, 2021.

                 21.      Through the Merger, 23andMe raised approximately $592 million in gross

proceeds to fuel growth and expansion in the Company’s PGS and Therapeutics businesses.3

23andMe also invested in R&D to support these two businesses, with the goal of expanding and

utilizing the Company’s unique database of genetic and phenotypic information to identify drug

targets and help accelerate personalized healthcare at scale.

                 22.      In November 2021, 23andMe acquired Lemonaid Health, Inc., an on-

demand platform providing access to medical care and pharmacy services online, offering

telemedicine, lab and pharmacy fulfillment services to patients in all 50 states and the District of

Columbia, at a purchase price of $400 million consisting of cash ($88.6 million) and the

Company’s Class A common stock.4 The addition of Lemonaid’s telehealth services to the

Company’s consumer business enabled the Company to provide healthcare to individuals in an

affordable and accessible way, while presenting the opportunity to offer personalized healthcare,

based on a patient’s wellness, choices and genetics.

        B.       The Debtors’ Organizational Structure

                 23.      A summary chart (the “Organizational Chart”) depicting the Debtors’

current corporate structure is reflected below:




3
    As of the date hereof, the Company has ceased operations of its Therapeutics division.
4
    See 23andMe Holding Co., Form 8-K, at 2 (Nov. 1, 2021) (SEC).



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                 24.     Lemonaid Health, Inc. has extensive contractual relationships with four

non-Debtor professional medical corporations (“PMCs”) that are 100% owned by licensed medical

providers in four jurisdictions (California, New Jersey, Kansas and Texas).                        Specifically,

Lemonaid Health, Inc. has entered into a management services agreement (“MSA”) with each

PMC pursuant to which certain of the Debtors provide business, administrative and non-clinical

services to the PMC in exchange for a fixed fee.5 Professional clinicians employed by the PMCs

also provide medical services to patients via the Debtors’ Lemonaid Health telehealth platform.




5
    While Lemonaid Health, Inc. is the Debtor-counterparty to the MSAs, the services contemplated therein are also
    furnished by Debtor 23andMe, Inc. pursuant to an MSA subcontracting agreement between Debtors 23andMe,
    Inc. and Lemonaid Health, Inc.



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       C.      The Debtors’ Business

               25.       The Debtors operate three businesses (each, a “Business Line”):

(i) Personal Genome Service®, (ii) Telehealth and (iii) Research Services. Each Business Line is

supported by the Company’s dynamic health data engine, allowing the Company to run hundreds

of billions of association tests per year to identify potential associations between particular genes

and health conditions.

              i.     Personal Genome Service®

               26.       The Debtors’ PGS offerings provide customers with a broad suite of genetic

reports, including information on customers’ genetic ancestral origins, personal genetic health

risks, chances of passing on certain rare carrier conditions to their children, and how genetics can

impact their response to certain medications. By providing customers with direct access to their

genetic disease risks and likelihoods, the Company empowers them to make better-informed

decisions about their health and seek opportunities to take preventative action against disease.

               27.       All PGS offerings require a customer to provide a saliva sample through the

Company’s saliva collection kit. The saliva sample, which contains DNA from the cells in the

customer’s mouth, is sent to the Company’s third-party laboratory services provider for DNA

extraction and analysis. Once the DNA has been extracted and processed in accordance with the

Company’s custom genotyping process, the resulting genetic data is then sent to the Company for

purposes of analyzing and interpreting the customer’s ancestry, traits and genetic health risks.




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               28.        In the U.S., Canada, and the U.K., the Company offers two PGS offerings:

the Ancestry Service and Health + Ancestry Service. The Ancestry Service is 23andMe’s base

service and provides customers information about their genetic ancestral origins and how genetics

may influence over 30 traits, such as physical features, sense perceptions, reactions to external

stimuli and other traits. The service also includes a tool that enables customers who opt in to

connect with genetic relatives who are also customers of the Company.

               29.        The Company’s Health + Ancestry Service builds upon its Ancestry Service

to also provide reports relating to a customer's health predispositions (including certain cancers

and other genetic health risks such as late-onset Alzheimer’s disease), carrier status (including for

cystic fibrosis, sickle cell anemia and hereditary hearing loss), and wellness (including for deep

sleep, lactose intolerance and genetic weight). Ancestry Service customers can upgrade to the

Health + Ancestry Service for a fee. These PGS offerings provide customers with updates on their

genetic health and ancestry reports as well as access to new product features and ability to connect

with genetic relatives.




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               30.     The Company also offers two membership services: 23andMe+ Premium

and 23andMe+ Total Health. The 23andMe+ Premium service is an annual membership that

provides customers with exclusive reports and features not available in the basic Health +Ancestry

Service. This membership is an add-on to the Company’s Health + Ancestry Service. 23andMe+

Premium provides customers with additional health reports, including multiple FDA-authorized

pharmacogenetics reports and personalized risk score reports based on 23andMe’s research. These

new risk scores can help customers understand certain genetic health predispositions, such as atrial

fibrillation, coronary artery disease, high LDL cholesterol, hypertension and migraines, and

provide them with information on preventing and managing these conditions.

               31.     The 23andMe+ Premium membership also provides customers with

advanced ancestry-related features, such as enhanced tools and filters for finding genetic relatives

and historical matches. In 2023, the Company added additional features to the 23andMe+

Premium membership with the introduction of 23andMe Health Action Plan and 23andMe Health

Tracks. These personalized action plans are part of 23andMe’s broader effort to help its customers

take action based on their genetic insights and other data. Over time, the Company plans to

continue to add more dynamic recommendation content and intuitive ways to track phenotypic

inputs, with the ultimate goal of helping customers improve their health span. The 23andMe+

Premium membership enhances customer engagement as members receive new content with

discoveries about themselves throughout the membership period and meaningful and customized

information to help them lead healthier lives.

               32.     In November 2023, the Company launched 23andMe+ Total Health (“Total

Health”), 23andMe’s most comprehensive membership providing access to third-party

independent clinicians practicing genetics-informed care with a focus on early risk detection and




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preventative actions. The Company’s Total Health service combines membership and telehealth

offerings with the addition of next generation sequencing covering 200x more hereditary disease-

causing variants than the Company’s personal genome service reports (50,000+ hereditary disease-

causing variants in Total Health exome sequencing compared to 250 health-related variants in

Company’s genotyping carrier status and genetic health risk reports). Total Health also includes

blood testing and access to genetics-based clinical care. As of fiscal year ended March 31, 2024,

the Company’s membership services (23andMe+ Premium and 23andMe+ Total Health) had a

total of approximately 550,000 members.

                 33.        The majority of the Company’s revenues are derived from the PGS Business

Line, with revenue from PGS representing approximately 76% of total revenues for fiscal year

ended March 31, 2024.

              ii.      Lemonaid Telehealth




         The Company offers direct access to care with Lemonaid Health Telehealth Services, with a growing menu of options.



                 34.        23andMe’s Lemonaid telehealth platform powers the Company’s telehealth

capabilities. Through the Lemonaid telehealth platform, the Company offers medical visits,

prescriptions and memberships relating to the treatment of specific conditions and provides access



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to certain medicine. Specific memberships, such as those relating to mental health, insomnia, and

weight loss, include access to clinician consults and necessary blood labs. The Company also

offers medical visits, prescriptions and memberships providing access to, and facilitating the

delivery of, medication and treatments for a wide range of medical conditions. Subscriptions are

offered on a monthly basis, as well as on a prepaid quarterly or annual basis. If a prescription is

warranted, the patient can access 23andMe’s pharmacy services for delivery. The Company’s

pharmacy offers non-controlled medications for treatment of certain acute and chronic conditions.

Lemonaid telehealth services are only available in the U.S. as of the Petition Date.

               35.     Because many states limit the ownership of medical practices to licensed

professionals and prohibit corporate ownership of medical practices, 23andMe offers medical

services through affiliated PMCs that are owned by a licensed medical provider in the applicable

jurisdiction. All of the physicians and nurse practitioners who provide medical services to the

Company’s customers are employees of the PMCs. Lemonaid Health, Inc. is party to an MSA

with each PMC pursuant to which the Company provides business, administrative and non-clinical

services to the PMC in exchange for a fixed fee and the PMC professional employees’ ability to

access patients through the Lemonaid telehealth platform. These services include information

technology, billing, insurance, tax, accounting and other administrative services, but do not include

any clinical, diagnostic or treatment decisions, which are made solely by licensed practitioners

based on evidence-based guidelines and clinical protocols. The MSAs are exclusive arrangements,

and the PMCs were established specifically to provide medical services through the Lemonaid

telehealth platform.

               36.     23andMe’s customers may choose to fill prescriptions provided to them by

the Company’s affiliated healthcare professionals by using the Company’s pharmacy services.




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Debtor LPRXOne LLC, a mail order pharmacy based in St. Louis, Missouri, offers patients

delivery of prescriptions throughout the U.S. The Company’s pharmacy services (and more

generally all of Lemonaid Health’s services) are provided on a self-pay basis and are not covered

by third-party payors. The Company also provides a small number of compounded medications

that are fulfilled by a third-party service provider that is not affiliated with the Company. 23andMe

manages its affiliated pharmacy under MSAs pursuant to which the Company provides all

administrative services as well as licensed pharmacists, support staff and infrastructure. The

Company’s MSAs with its affiliated pharmacy are exclusive arrangements, and the affiliated

pharmacy was established specifically to provide prescription medications when patients choose

to use the Company’s platform to fill prescriptions written by 23andMe’s affiliated healthcare

professionals.

                 37.     As of fiscal year ended March 31, 2024, the Company’s revenues from the

Lemonaid telehealth Business Line comprised approximately 16% of the Company’s total

revenues.




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             iii.     Research Services




                38.      23andMe customers have the opportunity to participate in the Company’s

research programs, and more than 80% of 23andMe’s customer base who are genotyped and

eligible for research (the “Consenting Customers”) have chosen to do so. Consenting Customers

agree to allow the Company to use their genotypic data as well as phenotypic data the customers

provide to 23andMe concerning their health, physical characteristics, family origins, lifestyle, and

other habits.6 This has enabled the Company to unlock more than 5.5 billion unique phenotypic

data points, making 23andMe’s database one of the largest of its kind for research purposes in the

world. The Company analyzes these data using machine learning and other analytic techniques in

order to discover new biological insights.            The Company’s analyses may highlight new



6
    Genotypic data is information about the genetic makeup of each individual human being. Phenotypic data is
    information that Consenting Customers report to the Company, including through their responses to the
    Company’s online surveys, about their traits, conditions, diseases and other observable characteristics.



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connections between human populations, identify genetic and non-genetic factors that predict

disease risk or drug response, or reveal the biological pathways underlying disease. These insights

may then be used to develop new features for customers to enhance their health, wellness, and

medical care, including, for those customers who choose this option, care accessed through the

Company’s Lemonaid telehealth platform.

               39.     Through its Research Services Business Line, 23andMe uses its vast

database of genetic and phenotypic information to discover insights into the genetic origins of

disease and to identify and validate targets for drug development. These services are performed

under agreements with universities, research institutions, and pharmaceutical companies. For

example, in July 2018, the Company entered into a five-year exclusive collaboration agreement

(the “Original GSK Agreement”) with an affiliate of GlaxoSmithKline (“GSK”) to leverage

23andMe’s genetic insights to validate, rapidly progress development, and commercialize useful

new drugs. As of July 2023, the exclusivity period under the Original GSK Agreement terminated,

enabling the Company to pursue new target discovery collaborations with other parties that can

leverage 23andMe’s extensive database and research capabilities. In October 2023, the Company

entered into an amendment to the Original GSK Agreement (the “2023 GSK Amendment”) to

provide GSK with a non-exclusive license to certain new, de-identified, aggregated data from

23andMe’s database (the “New Data”), as well as access to certain of the Company’s research

services with respect to such New Data.

               40.     In addition, 23andMe offers services to pharmaceutical and biotechnology

companies that leverage the Company’s engaged research participants. Specifically, the Company

supports recruitment of clinical trials with genetically defined recruitment criteria, as well as




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promoting awareness of diseases with a significant genetic risk factor through the creation of

sponsored health reports, cascade testing, and confirmatory testing.

               41.     Furthermore, until November 2024, the Company operated its Therapeutics

business, which sought to directly leverage the scale of 23andMe’s genetic insights to identify

potential targets and develop novel therapies for certain diseases.        Although the Company

ultimately decided to cease its Therapeutics division as part of a broader restructuring to focus on

its core consumer business, the promise shown by the Company’s clinical and preclinical stage

pipeline demonstrated the potential to license or otherwise monetize 23andMe’s extensive

database to discover new drugs.

               42.     As of fiscal year ended March 31, 2024, the Company’s revenues from its

Research Business Line comprised approximately 8% of the Company’s total revenues, a

substantial portion of which comprise revenues generated from the 2023 GSK Amendment.

       D.      Manufacture, Supply and Laboratory Testing

               43.     For its saliva collection kits and other products associated with its PGS

Business Line, the Company does not have in-house manufacturing or laboratory testing

capabilities and does not plan to develop such capacity in the foreseeable future. 23andMe has a

quality system that is in compliance with 21 C.F.R. Part 820 and International Organization for

Standardization 13485 for the regulated activities that are performed by the Company. 23andMe

relies on third-party suppliers and laboratories, which have been qualified in accordance with the

Company’s quality system, to provide materials (such as 23andMe’s saliva collection kits, bead

chips, reagents or other materials and equipment used in its laboratory operations) and testing

services. Currently, the Company relies on a sole supplier to manufacture its saliva collection kits.

Any changes in the design of certain materials which the Company relies on, such as 23andMe’s

bead chip or its saliva collection kit, may require additional authorization or clearance from the


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FDA. Any laboratories utilized by the Company in connection with testing services would be

required to obtain appropriate Clinical Laboratory Improvement Amendments of 1988 (“CLIA”)7

certification and state licensure (if required), including the validation of 23andMe’s testing

services in accordance with FDA and CLIA regulations and expectations.

        E.      Employees

                44.      As of the Petition Date, 23andMe directly employs approximately 286

individuals, of which 261 are compensated on a salaried, exempt basis and 25 are paid on an hourly

basis (collectively, the “Employees”). All Employees are based in the U.S. Pursuant to the MSAs

with the PMCs, the Debtors have exclusive responsibility for the payment of the PMCs’ medical

professionals’ salaries and employee benefits (such professionals, the “PMC Professionals”).

Moreover, 23andMe supplements its workforce by contracting with independent contractors

(the “Contractors”) and retaining temporary workers (together with the Contractors, PMC

Professionals, and the Employees, the “Workforce”) to support the organization. 23andMe’s

Workforce performs a wide variety of scientific, corporate, and administrative functions,

including, among other things: (a) research and development; (b) sales, marketing and commercial

strategy; (c) finance, accounting, legal, and human resources functions; (d) accounting, billing,

and revenue collection services; (e) technology support and IT services; (f) business analysis and

managerial support services; and (g) solely with respect to the PMC Professionals, provision of

medical services to patients through the Debtors’ telehealth platform.

        F.      Intellectual Property

                45.      Since inception, 23andMe has built an extensive patent estate (as

summarized below) and intellectual property remains a critical part of the Company’s mission.


7
    The CLIA regulations establish quality standard for laboratory testing performed on specimens from humans,
    such as blood, bodily fluid, and saliva. See 42 U.S.C. § 263(a).



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              i.     Consumer (PGS) Patent Estate

               46.      The Company’s PGS patent estate consists of 127 granted U.S. patents,

which include 106 utility and 21 design patents that cover technologies that include graphical user

interfaces, aspects of algorithms for processing genetic data, computer implemented inventions,

bioinformatics, and genotyping. Included in these are patents that relate to the following PGS

offerings: (i) 15 design and 67 utility patents relate to the Ancestry Service, (ii) 17 design and 67

utility patents relate to the Health + Ancestry Service, and (iii) 19 utility patents relate to the

23andMe+ Premium service.

               47.      The PGS patent estate also includes 45 pending patent applications, which

include one design application, 31 U.S. utility applications, two Patent Cooperation Treaty

(“PCT”) applications, five Canadian patent applications, and six European patent applications.

Included in these are applications that relate to the following PGS services: (i) one design and 23

U.S. utility applications, six European patent applications, five Canadian patent applications, and

one PCT application relate to the Ancestry Service, (ii) one design, 23 U.S. utility applications, six

European patent applications, five Canadian patent applications, and one PCT application relate

to the Health + Ancestry Service, and (iii) six U.S. utility applications, one European patent

application, and one Canadian patent application relate to the 23andMe+ Premium service.

               48.      The Company’s PGS patent portfolio has expected expiration dates ranging

from about 2027 to about 2044.

             ii.     Therapeutics Patent Estate

               49.      The Company also holds certain patents in connection with its Therapeutics

business comprising four granted U.S. patents, one granted Nigerian patent and one South African

patent that cover key areas of the Company’s past therapeutic development candidates. The

therapeutics patent estate also includes 54 pending U.S. utility and foreign utility patent


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applications, which include nine U.S. utility applications and 45 foreign utility patent applications,

covering key areas of the Company’s past therapeutic development candidates. These applications

include those in the following jurisdictions: the PCT, Argentina, Taiwan, Australia, Brazil,

Canada, Chile, China, Colombia, Costa Rica, Eurasia, Europe, Hong Kong, India, Indonesia,

Israel, Iran, Japan, South Korea, Malaysia, Mexico, New Zealand, Nigeria, Peru, Philippines,

Singapore, Thailand, Ukraine, Vietnam and South Africa. The subject matter of the therapeutics

patent portfolio relates to immuno-oncology, inflammatory disease and other therapeutic areas.

The Company’s therapeutics patent portfolio has expected expiration dates ranging from about

2039 to about 2044.

               50.     On November 8, 2024, the Company announced that it will cease

substantially all operations in its Therapeutics business segment. Starting in late 2024, the

Company engaged in discussions with potential third parties regarding the sale and/or license of

its therapeutics assets and associated intellectual property. In March 2025, the Company entered

into an agreement with a third party for the sale of one of its therapeutics assets, which sale is

expected to close shortly after the Petition Date, as well as an exclusive worldwide licensing

agreement with another third party with respect to a different therapeutics asset. Discussions

relating to the sale and/or license of other therapeutics assets remain ongoing as of the Petition

Date.

        G.     Government Regulation

               51.      23andMe’s genetic health risk, carrier status, and pharmacogenetic reports

are subject to regulatory oversight by the FDA under provisions of the Federal Food, Drug, and

Cosmetic Act and regulations thereunder, including regulations governing the development,

marketing, labeling, promotion, manufacturing, distribution, and export of diagnostic products.




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               52.       The third-party laboratories that the Company contracts with to perform the

laboratory portions of its service are subject to oversight by the Centers for Medicare and Medicaid

Services pursuant to the CLIA, as well as agencies in various states, including New York.

               53.       The Company is subject to many other federal, state and foreign laws,

including anti-fraud and abuse, anti-kickback and patient privacy.         Failure to comply with

applicable requirements can lead to sanctions, including withdrawal of products from the market,

recalls, refusal to authorize government contracts, product seizures, exclusion from participation

in federal and state healthcare programs, civil money penalties, injunctions, and criminal

prosecution.

               54.       The Company is engaged in ongoing privacy compliance and oversight

efforts, including in connection with the requirements of numerous local, state, federal and

international laws, rules, and regulations relating to the privacy and security of directly or

indirectly identifiable personal information (collectively, “Data Protection Laws”). Such Data

Protection Laws regulate the collection, storage, sharing, use, disclosure, processing, transferring,

and protection of personal information, including genetic information, and evolve frequently in

scope and enforcement.

               55.       In the U.S., some of the notable Data Protection Laws that the Company is

subject to include the California Consumer Privacy Act, as amended by the California Privacy

Rights Act (collectively, the “CCPA”), the California Genetic Information Privacy Act, California

Confidentiality of Medical Information Act, Section 5 of the Federal Trade Commission Act

(“FTC Act”), the Telephone Consumer Protection Act of 1991 and, in the event of a data breach,

various data breach laws across the 50 states. The Company is also subject to at least ten state

genetics privacy laws.




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               56.     Outside of the U.S., numerous countries have their own Data Protection

Laws, including, but not limited to, the Canadian Personal Information Protection and Electronic

Documents Act (“PIPEDA”) and the EU General Data Protection Regulation (“EU GDPR”), now

also enacted in the U.K. (“UK GDPR”).

               57.     Data Protection Laws are enforced by the FTC, government authorities and

agencies, including state attorneys general and national or state data protection authorities. Non-

compliance with such Data Protection Laws may result in monetary liabilities and other remedial

consequences, including the fines, civil litigation or regulatory orders that impacting the

Company’s use of personal information on a go-forward basis.

       H.      The Debtors’ Capital Structure

               58.     As of the Petition Date, the Debtors have no funded debt obligations. The

Debtors have unsecured claims outstanding as of the Petition Date, a substantial portion of which

comprise claims arising from the Cyber Security Incident (discussed in further detail below) and

ordinary course trade claims.

               59.     Debtor 23andMe Holding Co. is a publicly traded company and its shares

trade on the National Association of Security Dealers Automated Quotations (“NASDAQ”)

Capital Market under the ticker ME. 23andMe Holding Co. has two classes of common stock:

(i) the Class A common stock is publicly traded on the NASDAQ (the “Class A Common Stock”)

and (ii) the Class B common stock is not listed on any stock exchange nor traded on any public

market (the “Class B Common Stock”). The rights of the holders of Class A Common Stock and

Class B Common Stock are identical, except that holders of Class A Common Stock are entitled

to one vote per share and holders of Class B Common Stock are entitled to ten votes per share.

Each share of Class B Common Stock is convertible into one share of Class A Common Stock any

time at the option of the holder and is automatically converted into one share of Class A Common


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Stock upon transfer (except for certain permitted transfers). As of the Petition Date, 23andMe

Holding Co. has approximately 20,340,344 shares of Class A common stock and 7,099,035 shares

of Class B common stock issued and outstanding.

II.    Events Leading to Chapter 11

       A.      Adverse Market Conditions and Liquidity Constraints

               60.     Although 23andMe’s business has generated revenues in excess of $200

million per year over the last five years, the Company has not yet recognized any net profits since

its inception. Nevertheless, the Company has historically been able to operate and fund its

operations primarily through issuances of equity, sales of its PGS offerings and Lemonaid

telehealth services, as well as research partnerships.

               61.     Macroeconomic headwinds and other market conditions constrained the

Company’s ability to access capital markets following the Merger, leading to significant liquidity

constraints. In addition, rising inflation coming out of the COVID-19 pandemic combined with

the Federal Reserve’s efforts to combat inflation through interest rate increases created

macroeconomic conditions that adversely impacted the economy. These factors led to increased

costs of operating 23andMe’s business, including vendor, supplier, freight and delivery costs,

causing significant financial strain due to the Company’s reliance on outsourced manufacturing

and distribution capabilities as part of its business model.

               62.     Moreover, the market for personal genetics products and services has

experienced a recent overall decline, suggesting that consumers may choose to forego tests and

services like those offered by 23andMe, leading to decreases in the Company’s revenues (as well

as those of the Company’s direct competitors) in the PGS Business Line, which generates most of

the Company’s revenue. The Company’s consumer segment also faced increased competition in

both the ancestry testing and telehealth industries at the same time the Company’s revenue growth


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slowed. To compete in these increasingly competitive spaces, the Company lowered pricing to

retain consumer demand.

               63.     Investment in the Company’s drug discovery programs at historical levels

proved unsustainable in light of these challenges and the Company’s dwindling cash position. The

decision to shut down its Therapeutics division and refocus the Company’s resources on the

consumer and telehealth segments streamlined operations and enabled the Company to right-size

its cost structure. Despite these efforts, however, the Company remains cash flow negative. The

negative press driven by the Cyber Security Incident, as described below, further dampened

consumer demand.

       B.      Cyber Security Incident and Related Litigation

             i.      Background

               64.     On October 1, 2023, a threat actor posted online a claim to have 23andMe

users’ profile information. Upon learning of the incident, the Company immediately commenced

an investigation and engaged third-party incident response experts to assist in determining the

extent of any unauthorized activity. Based on its investigation, the Company determined the threat

actor was able to access a very small percentage (0.1%) of user accounts in instances where

usernames and passwords that were used on the Company website were the same as those used on

other websites that had been previously compromised or were otherwise available (the “Credential

Stuffed Accounts”). The information accessed by the threat actor in the Credential Stuffed

Accounts varied by user account, and generally included ancestry information, and, for a subset of

those accounts, health-related information based upon the user’s genetics. Using this access to the

Credential Stuffed Accounts, the threat actor accessed files containing information that users

consented to share when either opting in to 23andMe’s DNA Relatives feature or the Connections




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Feature..8 The Company determined that as a result of the Cyber Security Incident, the threat actor

accessed, without authorization, personal information relating to approximately seven million

customers.

              ii.      Litigation, Arbitration and Regulatory Investigations

                          (a)      Multi-District Litigation

                 65.      After the Company’s announcement of the Cyber Security Incident, over 40

putative class action lawsuits were filed against 23andMe asserting claims for various common

law torts and various statutory claims—including several that allege an entitlement to statutory

damages under certain states’ laws arising from the alleged unauthorized disclosure of genetic

information. On December 21, 2023, 23andMe filed a Motion to Transfer Actions to the Northern

District of California Pursuant to 18 U.S.C. § 1407 for Coordinated or Consolidated Pretrial

Proceedings with the Judicial Panel on Multidistrict Litigation (“JPML”), MDL No. 3098 (the

“Cyber Class Action”). On April 11, 2024, the JPML centralized the Litigation before the

Honorable Edward M. Chen of the Northern District of California (the “MDL Court”). On June

5, 2024, the court in the Class Action Litigation appointed interim co-lead class counsel (“Class

Counsel”), authorizing them to pursue the Class Action Litigation on behalf of the class action

plaintiffs, and to engage in appropriate settlement negotiations on behalf of the plaintiffs and the

putative class members. On June 26, 2024, Plaintiffs in the Cyber Class Action filed their

consolidated class action complaint against 23andMe, asserting various common law and statutory

claims.



8
    23andMe’s “DNA Relatives” feature allows customers to find and connect with their genetic relatives, while the
    “Family Tree” feature automatically predicts a family tree based on the DNA shared by a customer with its
    relatives in 23andMe. 23andMe’s “Connections” feature allows users to share information with another 23andMe
    user. Connections are established based on mutual agreement of the users—one user sends a Connection invitation
    and the other user accepts it to initiate the sharing of data between the users.



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                       (b)     State Court Litigation

               66.     As of the Petition Date, nine actions have been filed against 23andMe in

California state courts alleging similar causes of action asserted in the Cyber Class Action (the

“State Court Actions”). Prior to the Petition Date, all state actions were stayed through May 22,

2025. The vast majority plaintiffs in the State Court Actions are represented by one law firm

(Potter Handy, LLP).

                       (c)     Arbitration

               67.     After 23andMe’s announcement of the Cyber Security Incident,

approximately 35,000 claimants in the U.S. asserted or threatened arbitration claims against the

Company (collectively, the “Arbitration Claimants”).        The vast majority of the Arbitration

Claimants are represented by six independent law firms. Some of the arbitrations have been filed

with Judicial Arbitration and Mediation Services (“JAMS”).

                       (d)     Foreign Actions

               68.      As of the Petition Date, two class actions have been filed in Canadian courts

(one in Ontario and another in British Columbia). Prior to the Petition Date, counsel to plaintiffs

in the Ontario action (“Ontario Counsel”) confirmed they had entered into a cooperation agreement

with counsel to plaintiffs in the British Columbia action (“BC Counsel”) pursuant to which both

Ontario Counsel and BC Counsel agreed to coordinate the sequencing and timing of motions and

other litigation-related events in their respective class actions. At the last case management

conference on December 13, 2024, the Canadian court scheduled a five-day hearing on various

motions to be heard the week of June 16, 2025.

               69.     One firm in the U.K. has also asserted a pre-arbitration demand, seeking

damages on behalf of 3,720 customers in the U.K. who were allegedly impacted by the Cyber

Security Incident.


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                         (e)    Regulatory Actions

                70.      In March 2024, the Federal Trade Commission (“FTC”) served a civil

investigative demand (“CID”) seeking information related to, among other things, the Cyber

Security Incident. As of the Petition Date, 23andMe continues to respond to the FTC’s demands

on a rolling basis.

                71.      In addition, a Multi-State Attorneys General investigation seeking

information about the Cyber Security Incident has been brought by the U.S. state attorneys general

or appropriate representatives of the States or Commonwealths of Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho, Illinois,

Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Michigan, Minnesota, Montana,

New Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio,

Oklahoma, Oregon, Pennsylvania, South Carolina, Texas, Utah, Vermont, Virginia, Washington,

West Virginia, Wisconsin, Wyoming and the District of Columbia (collectively, the “Attorneys

General”).

                72.      Outside of the U.S., 12 foreign regulators have inquired about the Cyber

Security Incident, including a joint investigation initiated in June 2024 by Canada and the U.K. In

connection with their joint investigation, the Canadian and U.K. data protection regulators have

submitted multiple information requests and conducted three interviews of employees at the

Company with knowledge regarding or relating to the Cyber Security Incident. All other inquiries

and/or investigations involving foreign regulators have either been resolved or have gone dormant

in the course of the last several months leading up to the Petition Date.

             iii.     Mediation and Settlement

                73.      The MDL parties entered into mediation before Mr. Randall Wulff, who

presided over three mediation sessions taking place in January, March and June 2024. The arm’s-


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length negotiation from the June mediation session resulted in Mr. Wulff’s proposal for resolution

of the Cyber Class Action litigation claims against 23andMe. In July 2024, the MDL parties

accepted Mr. Wulff’s proposal and informed the MDL Court that parties had reached an agreement

in principle on the terms of a consensual settlement framework.

               74.     The MDL parties executed a confidential settlement term sheet on July 29,

2024, which contemplated an aggregate cash payment by the Company of $30.0 million to settle

all claims brought on behalf of all U.S. persons whose personal information was impacted by the

Cyber Security Incident. In addition, the Company agreed to document various business practice

initiatives relating to cybersecurity and provide customers with the option to enroll in a privacy

and monitoring service for three years. These terms were ultimately memorialized into and agreed

upon as part of a settlement agreement (the “Class Action Settlement Agreement”). On September

12, 2024, plaintiffs filed a motion asking the MDL Court for preliminary approval of the Class

Action Settlement Agreement, and the motion was considered at a court hearing on October 29,

2024. On October 29, 2024, the Court deferred the motion and asked the parties to provide

additional information by November 12, 2024.

               75.     On December 4, 2024, the MDL Court granted preliminary conditional

approval of the Class Action Settlement Agreement to resolve all claims by U.S. customers (who

do not opt out) arising out of the Cyber Security Incident. The Court’s order was conditioned upon

the parties’ acceptance of certain modifications to the Class Action Settlement Agreement,

including the exclusion from the settlement class customers who have chosen to exercise their

right to arbitrate, whether by making a demand for arbitration or by filing a formal complaint with

an arbitral forum. Following the December 4, 2024 order, the Company engaged in discussions

with the Cyber Class Action plaintiffs, as well as U.S. state court and arbitral claimants, regarding




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a potential settlement that would resolve all claims by U.S. customers, including those who choose

to exercise their arbitration rights.

                76.     In December 2024, the Company retained Paul, Weiss, Rifkind, Wharton &

Garrison LLP (“Paul, Weiss”) to assist the Company in settling the various lawsuits and claims

arising from the Cyber Security Incident. In January and February 2025, the Company engaged

in settlement discussions with plaintiffs in State Court Actions represented by Potter Handy LLP

(the “Settling State Court Plaintiffs”), as well as with Arbitration Claimants represented by three

independent law firms (Labaton Keller Sucharow LLP, Levi & Korsinsky LLP and Milberg

Coleman Bryson Phillips Grossman PLLC) (the “Settling Arbitration Claimants”). The Company

entered into a binding term sheet with the Settling Arbitration Claimants on February 13, 2025,

and a binding term sheet with the Settling State Court Plaintiffs on February 18, 2025. On March

21, 2025, the Company executed settlement agreements with both the Settling State Court

Plaintiffs and Settling Arbitration Claimants.

                77.     The cumulative effects of 23andMe’s business performance, the

Company’s negative cash flows, and pending litigation and claims arising from the Cyber Security

Incident proved to make it difficult, if not impossible, for the Company to access or attract equity

or debt financing on an out-of-court basis on actionable terms, effectively limiting the Company’s

runway to find a solution to its existing cash-on-hand.

        C.      23andMe’s Operational Restructuring Efforts

                78.     In an effort to address its worsening liquidity situation, under the

supervision of the repopulated Special Committee, the Company implemented cost-cutting

measures to improve its financial condition and preserve liquidity. In November 2024, the

Company announced that it would discontinue further development of all its Therapeutics

programs and wind-down ongoing clinical trials for drugs in the Company’s clinical and


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preclinical stage pipeline. In the same month, the Company also reduced its overall headcount by

approximately 200 employees, representing roughly 40% of the Company’s workforce at the time,

in an effort to substantially reduce operating expenses and realize cost savings. These efforts

sought to restructure and strategically align the Company’s workforce and organization with its

current strategy of focusing on the long-term success of the Company’s core consumer business

and research partnerships. In January 2025, the Company implemented further cost-cutting

measures, including additional reductions in operating expenses and entering into negotiations

with certain of its landlords to reduce (or terminate) rent expenses under the Company’s long-term

real estate leases.

        D.      Initial Prepetition Marketing Efforts

                79.      The Company’s business performance, liquidity position, and challenges in

accessing the capital markets were all adversely affected by the Cyber Security Incident and

ensuing litigation. These factors, coupled with Ms. Wojcicki’s expression of her intent to consider

making an offer to acquire the outstanding equity of the Company held by unaffiliated public

stockholders, led the Board to initiate a process under the control of disinterested and independent

directors to assess strategic alternatives for the Company. Specifically, in March 2024, the Board

formed and delegated to the Special Committee the Board’s power and authority to, among other

things, review and evaluate potential strategic transactions with potential acquirors, including Ms.

Wojcicki, and the Company’s other strategic alternatives (any such transaction or alternative, a

“Potential Transaction”), as well as maintaining the status quo as a standalone company. The

Board determined to establish the Special Committee because Ms. Wojcicki and her affiliates,9 as




9
    Ms. Wojcicki and her affiliates owned, as of such date, approximately 49% of the total voting power of the
    Company’s outstanding voting securities.



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potential acquirors, could have an interest in a Potential Transaction that was different from, or in

addition to, the interests of the Company’s stockholders generally.

               80.     Accordingly, since March 2024, the Board has relied on the Special

Committee consisting of disinterested and independent directors to ensure that the Company’s

evaluation and review of strategic alternatives, including any Potential Transaction, whether with

Ms. Wojcicki or with a third party, was thorough, fair, and free of potential conflict.

               81.     Shortly after its formation, the Special Committee engaged Wells Fargo

Securities, LLC (“Wells Fargo”) as its independent financial advisor and Dechert LLP as its

independent legal advisor to assist the Special Committee in evaluating a potential strategic

transaction for the Company, including any proposal from Ms. Wojcicki.

               82.     In April 2024, Ms. Wojcicki publicly announced that she was considering

making a proposal to “acquire the [Company] in a potential go-private transaction.”10 Ms.

Wojcicki also announced that she was working with advisors and intended to begin speaking to

potential partners and financing sources. Ms. Wojcicki stated that any proposal by her would be

conditioned irrevocably upon the approval of the Special Committee and a majority of the

unaffiliated shareholders of the Company. Ms. Wojcicki also indicated that she wished to maintain

control of the Company and, therefore, would not support an alternative transaction. As required

by the Securities Exchange Act of 1934, as amended, Ms. Wojcicki disclosed the foregoing

through an amendment to the report on Schedule 13D previously filed with the Securities and

Exchange Commission (“SEC”) by Ms. Wojcicki and certain of her affiliates (the “Schedule

13D”).11


10
     See Schedule 13D (Amendment No. 1) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 6 (Apr. 17, 2024) (SEC).
11
     See id.



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                  83.     Three months later, on July 29, 2024, Ms. Wojcicki submitted a non-

binding indication of interest to the Special Committee to acquire all of the Company’s outstanding

shares of common stock not owned by Ms. Wojcicki and her affiliates (or any other stockholders

that might be invited to “roll-over” their current equity shares) for $0.40 per share (the “July 29

Proposal”).12 The July 29 Proposal remained subject to confirmatory due diligence, among other

conditions, and did not include committed financing.13

                  84.     On August 2, 2024, the Special Committee rejected Ms. Wojcicki’s July 29

Proposal on the basis that, among other things, the offer did not provide a premium to the closing

price of the Company’s publicly traded common stock as of July 31, 2024, it lacked committed

financing, and it was conditional in nature. The Special Committee requested that Ms. Wojcicki

withdraw her stated intent to oppose any alternative transaction so that the Special Committee

could fully assess whether there was interest from third parties in a transaction that would

maximize value for all stockholders.14

                  85.     Shortly thereafter, in August 2024, Wells Fargo, at the direction of the

Special Committee, contacted 15 potential counterparties to assess potential third-party interest in

the Company (the “Initial Outreach”), assuming Ms. Wojcicki were to withdraw her stated intent

not to support a transaction with a third party. As a result of the Initial Outreach, one party signed

a confidentiality agreement with the Company to facilitate further discussion.




12
     Ms. Wojcicki’s offer of $0.40 per share was proposed prior to the Company’s 1-for-20 reverse stock split that
     was completed on October 16, 2024 in order for the Company to regain compliance with the minimum bid price
     requirement of the Nasdaq Global Market. Ms. Wojcicki’s July 29 Proposal equated to $8.00 per share calculated
     on a pro forma basis for the reverse stock split.
13
     See Schedule 13D (Amendment No. 2) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 6 (July 31, 2024) (SEC).
14
     See 23andMe Holding Co., Form 8-K, at 4 (Aug. 2, 2024) (SEC).



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                 86.      In early September 2024, in response to requests from the Special

Committee, Ms. Wojcicki notified the members of the Special Committee that she would be open

to considering third-party takeover proposals for the Company and updated the disclosure in her

Schedule 13D to reflect the same.15 Ms. Wojcicki also continued to evaluate a potential go-private

transaction involving the Company.16

                 87.      Shortly thereafter, the independent directors of the Board resigned. In a

public letter to Ms. Wojcicki, the independent directors noted that they believed that they had not

received an actionable proposal from Ms. Wojcicki and would not receive one.17 The letter further

explained that, given their divergence in views from Ms. Wojcicki, the independent directors’

resignation would be “in the best interests of the Company’s shareholders.”18 Following such

resignations, Ms. Wojcicki remained the sole director of the Company.

                 88.      In late September 2024, Ms. Wojcicki updated her prior statement in her

Schedule 13D, indicating that she remained committed to completing an acquisition of the

Company but would not consider third-party takeover proposals for the Company.19 In October

2024, Wells Fargo terminated its engagement letter with the Special Committee.

                 89.      On October 28, 2024 , the Board increased its size from one member to four

members and appointed three new independent directors. On November 2, 2024, the Special

Committee was also repopulated with these three new independent and disinterested directors, who




15
     See Schedule 13D (Amendment No. 3) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Sept. 11, 2024) (SEC).
16
     See id.
17
     See 23andMe Holding Co., Form 8-K, at 4 (Sept. 18, 2024) (SEC).
18
     See id.
19
     See Schedule 13D (Amendment No. 5) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Sept. 30, 2024) (SEC).



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still serve on the Special Committee as of the Petition Date.20 Shortly thereafter, the Special

Committee selected Moelis, as its independent investment banker,21 and Goodwin Procter, as its

independent legal advisor, to aid in its evaluation of strategic alternatives for the Company,

including a Potential Transaction.

                  90.      In January 2025, Paul, Weiss was authorized by the Special Committee to

begin chapter 11 contingency planning in light of the Company’s deteriorating liquidity position.

In the same month, the Company also retained A&M, as financial advisor, to assist with the chapter

11 contingency planning.

         E.       Expanded Prepetition Marketing Process

                  91.      Beginning in January 2025, as set forth in greater detail in the Declaration

of Andrew Swift in Support of Debtors’ Motion for Entry of An Order (I) Approving Bidding

Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Certain Dates and Deadlines with

Respect Thereto, (III) Approving the Form and Manner of the Notice Thereof, (IV) Approving

Procedures Regarding Entry into Stalking Horse Agreement(s), If Any, (V) Establishing Notice

and Procedures for the Assumption and Assignment of Contracts and Leases, (VI) Authorizing the

Sale of the Debtors’ Assets Free and Clear of Claims, Interests, and Encumbrances,

(VII) Approving Procedures for the Sale, Transfer, or Abandonment of De Minimis Assets, and

(VIII) Granting Related Relief filed contemporaneously herewith, Moelis, at the direction of the

Special Committee, began soliciting potential third-party interest in the acquisition of the




20
     As described below, on March 21, 2025, Mr. Thomas Walper was appointed to the Board and the Special
     Committee as an additional independent and disinterested director. As of the Petition Date, the Special Committee
     consists of Mark Jensen, Andre Fernandez, Jim Frankola and Thomas Walper.
21
     In March 2025, Moelis’s engagement was subsequently modified to account for its role as investment banker to
     both the Special Committee and the Company in connection with these Chapter 11 Cases.



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Company for all or a portion of the Company’s assets or business segments, as well as potential

financing sources for new financing for the Company.

                  92.      As part of this process (the “Prepetition Marketing Process”), the Debtors,22

with the assistance of Moelis, prepared a confidential information memorandum with extensive

information on the Company’s assets, and populated a data room (the “Data Room”) containing

significant diligence documentation.

                  93.      On January 28, 2025, the Special Committee issued a press release

announcing that it had undertaken a process to explore strategic alternatives, including, among

other alternatives, a possible sale of the Company, business combination, sale of all or part of the

Company’s assets, licensing of assets, restructuring, or other strategic action,23 which resulted in

additional inbound interest from third parties. Shortly thereafter, in response to a request from the

Special Committee, Ms. Wojcicki updated her prior statement in her Schedule 13D to indicate her

willingness to consider third-party takeover proposals for the Company or other strategic

alternatives that may be in the best interests of the Company.24

                  94.      Overall, as part of the Prepetition Marketing Process, the Debtors, under the

direction of the Special Committee and its advisors, engaged with 103 potential counterparties,

including 51 potential strategic investors and 52 potential financial investors / financing

counterparties (collectively, the “Contact Parties”). These efforts resulted in 90 introductory calls

and the execution of approximately 42 confidentiality agreements with the Company.


22
     At all relevant times, the Debtors conducted the Prepetition Marketing Process under the authority of the Special
     Committee, and references to the “Debtors” in this section, where applicable, should be interpreted to mean that
     the Debtors took such action subject to the Special Committee’s direction and oversight.
23
     See 23andMe Holding Co. press release dated January 28, 2025 (https://investors.23andme.com/news-
     releases/news-release-details/23andme-special-committee-announces-exploration-strategic).
24
     See Schedule 13D (Amendment No. 8) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 5 (Jan. 31, 2025) (SEC).



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               95.     Starting on January 30, 2025, and continuing throughout the Prepetition

Marketing Process, Moelis distributed the confidential information memorandum and a

preliminary financial model to Contact Parties that signed confidentiality agreements with the

Company and provided such parties with access to the Data Room. In the aggregate, the Debtors,

with the assistance of Moelis, published over 180 diligence documents to the Data Room

throughout the Prepetition Marketing Process, covering financial, operational, legal and other key

items, and facilitated diligence calls among members of the Debtors’ management team, certain

Contact Parties, and the Special Committee’s and/or the Debtors’ advisors.

               96.     In early February 2025, Moelis distributed a formal process letter requesting

that the Contact Parties remaining in the process submit initial indications of interest no later than

February 20, 2025 (the “Initial IOI Deadline”). The process letter provided to the Contact Parties

included optionality for the Contact Parties to present indications of interest for the Company’s

equity or on a cash-free, debt-free basis for all or part of the Company, or the terms of a financing.

Moelis also informed Ms. Wojcicki and her advisors of the Initial IOI deadline. In connection

with the Initial IOI Deadline, Moelis, on behalf of the Special Committee, received multiple

preliminary non-binding indications of interest from Contact Parties with various structures, and a

joint indication of interest from Ms. Wojcicki and New Mountain Capital L.L.C. (“New

Mountain”) seeking to acquire all of the Company’s outstanding shares of common stock not

owned by Ms. Wojcicki or her affiliates (or any other stockholders that might be invited to “roll-

over” their current equity shares) at a price of $2.53 per share (the “February 20 Proposal”).25

Subsequent to the Initial IOI Deadline, Moelis continued to engage in discussions with Contact




25
     See Schedule 13D (Amendment No. 9) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Feb. 21, 2025) (SEC).



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Parties about a potential transaction involving the Company, and received preliminary non-binding

indications of interest from a few additional Contact Parties with respect to potential financing or

asset acquisition transactions. None of the non-binding indications of interest received in the

Prepetition Marketing Process, other than the indication of interest from Ms. Wojcicki and New

Mountain, provided for an out-of-court acquisition for 100% of the equity of the Company.

                97.     On March 3, 2025, Ms. Wojcicki filed an amendment to her Schedule

13D,26 disclosing that Ms. Wojcicki had been informed that New Mountain was no longer

interested in participating in a potential acquisition of the Company as described in the February

20 Proposal but that Ms. Wojcicki remained committed to completing an acquisition of the

Company. The amendment to Schedule 13D also included a copy of a non-binding proposal to

acquire all of the Company’s outstanding shares of common stock not owned by Ms. Wojcicki or

her affiliates (or any other shareholders that might be invited to “roll-over” their current equity

shares) for $0.41 per share, which Ms. Wojcicki had delivered to the Special Committee on March

2, 2025 (the “March 2 Proposal”). The March 2 Proposal also indicated that Ms. Wojcicki would

be willing to provide $30 million of unsecured financing for the Company’s operations through

the closing of the potential transaction, subject to various conditions set forth in a term sheet

provided with the March 2 Proposal. Shortly thereafter, the Special Committee issued a press

release indicating that it had reviewed the March 2 Proposal in consultation with its financial and

legal advisors, and had determined to reject the proposal.27




26
     See Schedule 13D (Amendment No. 10) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Mar. 3, 2025) (SEC).
27
     See 23andMe Holding Co. press release dated March 3, 2025 (https://investors.23andme.com/news-
     releases/news-release-details/23andme-special-committee-rejects-acquisition-proposal-ceo-anne).



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                 98.      On March 6, 2025, Ms. Wojcicki delivered a revised non-binding proposal

to the Special Committee for upfront cash consideration of $0.41 per share and three contingent

value rights representing the potential to receive an additional $2.53 per share in the aggregate if

specified revenue milestones were achieved by the Company in fiscal years 2026, 2027 and 2028

(the “March 6 Proposal”).28 As part of the March 6 Proposal, Ms. Wojcicki continued to indicate

that she was willing to provide $30 million of unsecured financing, subject to various conditions,

to the Company to finance its operations through the closing of the potential transaction.

Thereafter, on March 10, 2025 and in response to certain requests of the Special Committee, Ms.

Wojcicki submitted an updated non-binding proposal that further referenced a proposed

commitment to provide $20 million of additional capital to fund the operations of the Company

(the “March 10 Proposal”).29 After the Special Committee endeavored to negotiate with Ms.

Wojcicki, she notified the Special Committee that the March 10 Proposal was her best and final

offer. After consultation with its advisors, the Special Committee determined that the March 10

Proposal, which reflected Ms. Wojcicki’s best and final offer, should be rejected.

                 99.      The Special Committee determined that the indications of interest received

during the Prepetition Marketing Process, including Ms. Wojcicki’s proposals, were either

(a) preliminary in nature and not currently actionable, (b) not actionable on an out-of-court basis

or (c) otherwise not in the best interest of the Company and its stakeholders. In addition, given

the Debtors’ financial condition and liquidity position, the uncertainty surrounding the scope and

extent of liabilities arising from the Cyber Security Incident and other relevant factors, the Special


28
     In the March 6 Proposal, Ms. Wojcicki also noted that she and her advisors had “ran an exhaustive process to
     identify new financing, contacting over 100 potential providers of public and private equity as well as debt
     financing.” See Schedule 13D (Amendment No. 11) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE
     TRUST U/A/D 9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Mar. 10, 2025) (SEC).
29
     See Schedule 13D (Amendment No. 12) of ABeeC 2.0, LLC, ANNE WOJCICKI REVOCABLE TRUST U/A/D
     9/2/09, AS AMENDED AND RESTATED, and Anne Wojcicki, at 4 (Mar. 11, 2025) (SEC).



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Committee determined that it was in the best interests of the Debtors’ stakeholders to pivot to an

in-court sales process and leverage the ability to sell assets free and clear through a chapter 11 plan

or pursuant to section 363 of the Bankruptcy Code, to maximize value for the benefit of the

Debtors’ stakeholders.

               100.      Given the prospect of an imminent chapter 11 filing, the Company took

certain steps to further modify and enhance its independent governance framework. On March 7,

2025, the Board authorized resolutions that expanded the Special Committee’s delegation of

authority to include all matters related to a potential restructuring of the Company, including the

authority to direct the Company to file for chapter 11 proceedings. On March 16, 2025, the Special

Committee authorized resolutions directing certain specified counsel to the Special Committee and

to the Company to conduct a special review of the Company’s governance, financial transactions,

and business operations to assess the potential viability of legal claims that may be brought by

various parties against any third party or any of the Company’s directors, officers, managers,

members, equity holders, principals, employees, and any other individual that is an insider of the

Company (the “Investigation”). On March 21, 2025, the Special Committee authorized resolutions

that approved (a) the filing of these Chapter 11 Cases, (b) the filing of the Bidding Procedures

Motion and engaging in a marketing process in accordance with the procedures contemplated

therein, and (c) the retention of the Professionals.

               101.      On the same day, Ms. Wojcicki, by mutual agreement between Ms.

Wojcicki and the Special Committee, tendered her resignation as an officer of the Company to the

Board, with such resignation effective at 5:00 p.m., Eastern Time, on March 23, 2025. Ms.

Wojcicki also stepped down as Chair of the Board (while continuing to serve as a director on the

Board) and further resigned as director and/or officer, as appropriate, from various other Company




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subsidiaries.30 Also on the same day, the Board authorized resolutions (a) appointing Mr. Mark

Jensen as the Chairman of the Board, (b) appointing Mr. Joseph Selsavage as Interim Chief

Executive Officer and Interim President, effective upon Ms. Wojcicki’s resignation, (c) appointing

me as the Chief Restructuring Officer of the Company, subject to and effective upon the filing of

these Chapter 11 Cases, (d) expanding the size of the Board from four to five directors, and

(e) appointing Mr. Walper as an additional independent director and appointing him to the Special

Committee, in each case, effective upon the filing of these Chapter 11 Cases. On March 23, 2025,

the Special Committee (x) authorized resolutions designating and empowering Mr. Walper to

exercise all of the power and authority of the Special Committee with respect to the Investigation,

effective upon the filing of these Chapter 11 Cases and (y) approved specific guidelines governing,

among other things, communications between Ms. Wojcicki and the Company’s management,

subject to appropriate oversight by the Special Committee and senior members of the Company’s

management team.

         F.       Proposed Debtor-in-Possession Financing

                  102.     As described in the Declaration of Andrew Swift in Support of Debtors’

Motion for Entry of (I) An Order (A) Authorizing Entry into and Performance Under the Binding

DIP Term Sheet, Including Payment of the Commitment Fee and the Work Fee Thereunder, and

(B) Granting Related Relief and (II) An Order (A) Authorizing the Debtors to Obtain Postpetition

Financing, Grant Liens, and Provide Superpriority Administrative Expense Claims, (B) Modifying

the Automatic Stay and (C) Granting Related Relief (the “DIP Declaration”), filed

contemporaneously herewith, certain parties involved in the Prepetition Marketing Process




30
     These subsidiaries include: (i) 23andMe, Inc. (director and officer), Lemonaid Health, Inc. (director and officer),
     23andMe Pharmacy Holdings, Inc. (officer) and Lemonaid Pharmacy Holdings, Inc (officer).



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expressed interest in providing debtor-in-possession financing if the Debtors decided to pursue an

in-court process. After evaluation of such potential proposals with the Special Committee, the

Company, with Moelis’ assistance, engaged in further discussions with such parties, which

resulted in the Company’s receipt of three written indications of interest in providing a DIP facility

(the “Initial DIP Interest Parties”). The Initial DIP Interest Parties included both new, third-party

capital providers as well as Ms. Wojcicki.

               103.    Of the three indications of interest received, the Special Committee, with

the assistance of its advisors, determined that only the proposals provided by JMB Capital Partners

Lending, LLC (the “DIP Lender” and, such proposal, the “DIP Lender Proposal”) and Ms.

Wojcicki (the “Former CEO Proposal” and, together with the DIP Lender Proposal, the

“Proposals”) were potentially actionable. Accordingly, with the authorization of the Special

Committee, the Debtors engaged in arm’s-length and good faith negotiations with the

counterparties to the Proposals (the “Counterparties”) in the week leading up to the Petition Date.

               104.    After engaging in multiple discussions and exchanging various drafts of

term sheets and other documentation outlining the material terms of each Proposal with the

Counterparties’ advisors, the Special Committee determined that accepting the DIP Lender

Proposal was in the best interests of the Debtors, including with respect to the Former CEO

Proposal. On March 23, 2025, the Special Committee authorized the Company’s advisors to move

forward with documenting the DIP Lender Proposal. Shortly thereafter, the Company and the DIP

Lender executed a binding term sheet (the “DIP Term Sheet”), under which it committed to provide

the DIP Facility subject to certain terms and conditions set forth therein and as more fully detailed

in the Debtors’ Motion for Entry of (I) An Order (A) Authorizing (A) Entry Into and Performance

Under the Binding DIP Term Sheet, Including Payment of the Commitment Fee and the Work Fee




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Thereunder, and (B) Granting Related Relief and (II) An Order (A) Authorizing the Debtors to

Obtain Postpetition Financing, Grant Liens, and Provide Superpriority Administrative Expense

Claims, (B) Modifying the Automatic Stay and (C) Granting Related Relief (the “DIP Motion”),

filed contemporaneously herewith.

                  105.      As discussed in the DIP Motion, the DIP Term Sheet does not contemplate

any funding at the outset of these Chapter 11 Cases. Instead, the Debtors seek Court approval of

an Approval Order (as defined in the DIP Motion), which would authorize them to enter into the

DIP Term Sheet and pay the DIP Lender (a) a fully earned, non-refundable $100,000 work fee (the

“Work Fee”) for reimbursement of the DIP Lender’s fees and expenses provided in connection

with the DIP Facility, the preparation of the DIP Facility definitive documentation, and the other

transactions contemplated by the DIP Term Sheet, and (b) a $700,000 fully earned, non-refundable

cash fee equal to 2.00% of the total amount of the DIP Commitments (as defined in the DIP

Motion) (the “Commitment Fee”), in each case, paid in cash no later than two business days after

the entry of the Approval Order (as defined in the DIP Motion).

                  106.      Additionally, the Debtors seek entry of the DIP Order (as defined in the DIP

Motion) at the second day hearing. Upon entry of the DIP Order, the DIP Facility would allow

the Debtors to (a) immediately access up to $10 million and (b) access the remaining $25 million

upon the Court’s approval of an Acceptable Stalking Horse Agreement no later than May 7, 2025,

that either (i) is acceptable to the DIP Lender in its reasonable discretion or (ii) would repay, or

generate sufficient cash proceeds to repay, the DIP Obligations.                        The DIP Facility has an

approximate six-month term31 and customary covenants and terms for a facility of its size.


31
     The DIP Facility shall be due and payable on the earliest of September 30, 2025 and certain other events, including
     (i) April 25, 2025 unless the DIP Order has been entered by the Court, (ii) the consummation of any sale or other
     disposition of all or substantially all of the assets of the Borrowers pursuant to section 363 of the Bankruptcy
     Code; (iii) the date of the acceleration of loans issued pursuant to the DIP Facility and the termination of the DIP


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                107.     Access to the DIP Facility will instill much needed confidence in parties

that are critical to the success of these Chapter 11 Cases, including the Company’s employees,

vendors and customers. Based on my familiarity with the Company’s operations and extensive

discussions with the Company’s management team and advisors, I believe the DIP Facility should

provide the Company with sufficient liquidity to make it through the key sale process dates

described below.

       G.       Commencement of the Chapter 11 Cases

                108.     In the absence of a viable out-of-court transaction and a shortening liquidity

runway, the Company determined to commence these cases to protect and seek to maximize the

value of the Debtors’ assets for the benefit of all stakeholders. Specifically, the Debtors intend to

use the tools provided by the Bankruptcy Code—including the breathing spell provided by the

automatic stay, the ability to reject burdensome contracts, the ability to sell assets free and clear of

prepetition liabilities and the ability to resolve all claims arising from the Cyber Security Incident

through a centralized claims resolution process—to preserve and seek to maximize value for the

benefit of the Debtors’ estates and stakeholders.

                109.     With the foundation for a successful marketing process in place and several

proposals indicative of a competitive auction in hand, the Debtors will utilize these Chapter 11

Cases to expand upon their Prepetition Marketing Process through a court-overseen sale and

auction process pursuant to their proposed bidding procedures, which are designed to maximize

value for all stakeholders. If the Debtors’ proposed bidding procedures are approved, such

procedures will allow the Debtors to (a) determine if any potential purchaser(s) should be



   Commitments following the occurrence and during the continuation of an Event of Default (as defined in the DIP
   Term Sheet); (iv) the effective date of any chapter 11 plan with respect to the Company, and (v) dismissal of the
   Chapter 11 Cases or conversion into a case under chapter 7 of the Bankruptcy Code.



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designated as a stalking horse bidder for some or all of the Debtors’ assets, (b) host an auction, if

necessary, and (c) obtain the highest or otherwise best possible bid for a sale of all or substantially

all of the Debtors’ assets, among other things.

                110.       To that end, contemporaneously herewith, the Debtors have filed the Motion

for Entry of An Order (I) Approving Bidding Procedures for the Sale of the Debtors’ Assets,

(II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving the Form and

Manner of the Notice Thereof, (IV) Approving Procedures Regarding Entry into Stalking Horse

Agreement(s), If Any, (V) Establishing Notice and Procedures for the Assumption and Assignment

of Contracts and Leases, (VI) Authorizing the Sale of the Debtors’ Assets Free and Clear of

Claims, Interests, and Encumbrances, (VII) Approving Procedures for the Sale, Transfer, or

Abandonment of De Minimis Assets, and (VIII) Granting Related Relief (the “Bidding Procedures

Motion”), which will request this Court’s approval of bidding procedures for bids on one or more

potential sales of their assets.

                111.       The proposed bidding procedures contemplate a sale process timeline that

will allow the Debtors to move through these Chapter 11 Cases as quickly and efficiently as

possible, while providing sufficient time to maximize the value of any transaction from the parties

already active in the process and affording additional interested parties reasonable time to submit

bids. A chart summarizing key dates and deadlines the Debtors seek to establish pursuant to the

proposed bidding procedures is set forth below:

 Action                         Description                                        Deadline
 Non-Binding Indication of      The deadline by which any party interested in      April 13, 2025 at 4:00 p.m.
 Interest Deadline              purchasing the Company Assets must submit a non-   (prevailing Central Time)
                                binding indication of interest.
                                                                                   Petition Date + 21 days
 Stalking Horse Deadline        The deadline by which the Debtors may choose one   April 27, 2025
                                or more Stalking Horse Bidder(s).
                                                                                   Petition Date + 35 days




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 Action                            Description                                             Deadline
 Stalking    Horse        Notice   The deadline by which the Debtors must file a           Within two business days
 Deadline                          Stalking Horse Notice.                                  after entry into a Stalking
                                                                                           Horse Agreement
 Bid Deadline                      The deadline by which all binding Bids must be          May 7, 2025
                                   actually received pursuant to the Bidding
                                                                                           Petition Date + 45 days
                                   Procedures.
 Determination of Qualified        The deadline by which the Debtors will determine        May 9, 2025
 Bids                              which Bids are Qualified Bids and notify each
                                                                                           Bid Deadline + 2 business
                                   potential bidder in writing whether such potential
                                                                                           days
                                   bidder is a Qualified Bidder.
 Auction (if necessary)            The date and time of the Auction, which will be         May 14, 2025 at 9:00 a.m.
                                   held at the offices of Paul, Weiss, Rifkind, Wharton
                                                                                           Petition Date + 52 days
                                   & Garrison LLP, 1285 Avenue of the Americas,
                                   New York, New York, 10019.
 Notice of Successful Bidder       Within two business days following closing of the       Within two business days
                                   Auction, the Debtors will file on the docket a notice   following closing of the
                                   identifying the Successful Bidder, identifying the      Auction (if any)
                                   applicable Successful Bidder, Company Assets,
                                   and key terms of the agreement.
 Deadline to File and Serve        The deadline by which the Debtors must file and         May 19, 2025 (seven days
 Cure Notices                      serve Cure Notices to counterparties to Contracts to    before the Sale Objection
                                   be assumed and assigned in connection with the          Deadline)
                                   Sale(s).
 Sale Objection      Deadline;     The deadline by which objections to the Successful      May 26, 2025
 Cure/Assignment     Objection     Bidder(s) and Sale(s), if any, or to the assumption
                                                                                           Petition Date + 64 days
 Deadline                          and assignment of any Contracts in connection with
                                                                                           (seven days before the Sale
                                   the Sale(s) must be filed with the Court.
                                                                                           Hearing)
 Sale Hearing                      The hearing, if any, before the Court to consider       June 2, 2025
                                   approval of the Successful Bid(s), pursuant to
                                                                                           Petition Date + 71 days
                                   which the Debtors and the Successful Bidder(s)
                                   consummate the Sale(s).


                 112.      Importantly, in furtherance of the Company’s ongoing commitment to

protect the privacy and security of its customers’ personal information, the proposed bidding

procedures contemplate full compliance with the Company’s existing consumer privacy practices,

which do not restrict the transfer of personally identifiable information of the Debtors’ customers

in connection with a bankruptcy, merger, acquisition, reorganization or sale of assets. Specifically,

the proposed bidding procedures will require any person or entity who wishes to participate in the

Auction to comply, in all respects, with the Debtors’ existing consumer privacy practices and will



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require an affirmative statement as part of any bid acknowledgment of such compliance. To the

extent circumstances arise where any deviation from the Company’s consumer privacy practices

is warranted and/or necessary, the Debtors will implement any such change in accordance with

applicable law(s), with adequate notice to applicable parties, and/or with necessary relief from this

Court, as appropriate.

                    113.     In addition to seeking authority to implement procedures to govern the sale,

bidding, and auction process for all or substantially all of the Company’s assets, the Bidding

Procedures Motion requests approval of procedures to govern the sale or abandonment of certain

of the Company’s assets that are of de minimis value (the “De Minimis Asset Procedures”). As

mentioned previously, the Company intends to sell substantially all of their assets through a Court

overseen sale process in accordance with the proposed Bidding Procedures. However, the

Company may identify assets (a) that are sellable only at values that do not justify the additional

administrative cost and expense associated with maintaining such assets or conducting a formal

auction process or (b) where the costs associated with the sale or maintenance of such assets may

exceed any possible proceeds thereof. The De Minimis Asset Sale Procedures will allow the

Company flexibility to either monetize or abandon such assets, in each case, fairly and efficiently

with appropriate notice given to key parties in interest and without unnecessarily burdening the

Company’s estates with unnecessary costs and delay.

III.       First Day Motions32

                    114.     As a result of my first-hand knowledge, and review of various materials,

and information, and discussions with members of the Debtors’ management and advisors, I have




32
       Capitalized terms used in this section but not otherwise defined herein shall have the meanings ascribed to such
       terms in the First Day Motions, as applicable.



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formed opinions as to (a) the necessity of obtaining the relief sought by the Debtors in the First

Day Motions, (b) the need for the Debtors to continue to operate effectively while working to

maximize the value of their assets for the benefit of all stakeholders, and (c) the immediate and

irreparable harm to which the Debtors will be exposed upon the commencement of these

Chapter 11 Cases unless the limited relief requested in the First Day Motions is granted without

delay.

               115.    As described more fully below, the relief requested in the First Day Motions

was carefully tailored by the Debtors, in consultation with their advisors, to ensure that the

Debtors’ immediate operational needs are met so that the Debtors can continue their business in

the ordinary course, and that the Debtors suffer no immediate and irreparable harm at the outset of

these Chapter 11 Cases. I, or my colleagues at my instruction, participated in the analysis that

informed each First Day Motion, and assisted in developing the relief requested therein and

reviewed the pleadings related thereto. At all times, the Debtors’ management and professionals

remained cognizant of the limitations imposed on a debtor in possession and, in light of those

limitations, the Debtors narrowed the relief requested at the outset of these Chapter 11 Cases to

those matters that require urgent relief to sustain the Debtors’ immediate operations and preserve

value during the pendency of these Chapter 11 Cases. It is my opinion that the Debtors would

suffer immediate and irreparable harm if the relief requested in the First Day Motions is not

granted.

         A.    Administrative Motions

              i.   Debtors’ Motion for Entry of an Order (I) Directing the Joint Administration
                   of the Debtors’ Chapter 11 Cases and (II) Granting Related Relief (the “Joint
                   Administration Motion”)

               116.    Through the Joint Administration Motion, the Debtors request entry of an

order directing the joint administration of these Chapter 11 Cases, and respectfully request that the


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Clerk of the Court maintain one file and one docket for all of these Chapter 11 Cases and that the

cases be administered under a consolidated case caption as set forth below:

                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                Chapter 11

    23ANDME HOLDING CO., et al.,1                                         Case No. 25-40976

                             Debtors.                                     (Joint Administration Requested)



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address for
      purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA, 94102.

                   117.     I understand that many, if not all, of the motions, applications, hearings, and

orders that will arise in these Chapter 11 Cases will jointly affect all of the Debtors. The joint

administration of the Debtors’ respective estates will permit counsel for all parties in interest to

include all of these Chapter 11 Cases in a single caption and will enable parties in interest of all of

the Chapter 11 Cases to stay apprised of the various matters before the court.

                   118.     In addition, I believe that it would be far more practical and expedient for

the administration of the Chapter 11 Cases if the Court were to authorize their joint administration,

which will reduce costs and facilitate the administrative process by avoiding the need for

duplicative notices, applications, and orders. It is my understanding that no prejudice will befall

any party by the joint administration of the Debtors’ cases, as the relief sought therein is solely

procedural, and not intended to affect substantive rights.                   Thus, in order to optimally and

economically administer these Chapter 11 Cases, the Debtors submit that such cases should be




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jointly administered under the case number assigned to 23andMe Holding Co. In light of the

foregoing, the Debtors respectfully request that the Joint Administration Motion be granted.

             ii.   Debtors’ Motion for Entry of an Order (I) Establishing Certain Notice, Case
                   Management, and Administrative Procedures and (II) Granting Related Relief
                   (the “Case Management Motion”)

               119.    Through the Case Management Motion, the Debtors request authority to

implement certain notice, case management, and administrative procedures (the “Procedures”) in

connection with the Chapter 11 Cases.        The Procedures, among other things, (a) establish

requirements for the filing and service of Court filings, (b) delineate standards for notices of

hearing and agendas, (c) articulate mandatory guidelines for the scheduling of hearings and

objection deadlines, (d) limit matters that are required to be heard by the Court, and (e) authorize

the Debtors to (i) schedule, in cooperation with the Court, periodic omnibus hearing dates,

(ii) serve documents by email on certain parties in interest, (iii) establish a case information

website to provide interested parties with access to certain documents filed in these Chapter 11

Cases, and (iv) use a claims and noticing agent to maintain and distribute documents.

               120.    It is my belief that implementing the Procedures will maximize the

efficiency and orderliness of the administration of the Chapter 11 Cases and reduce the costs

associated with traditional case management procedures. I also believe that granting the relief

requested will limit the administrative burdens and costs associated with preparing for hearings

and serving and mailing documents. In addition, the Procedures will assist the Debtors and their

personnel and professionals in organizing and prioritizing the numerous tasks attendant to these

cases. I understand that the Debtors estimate that implementing the Procedures will yield

significant savings to these estates and will also avoid unnecessary costs and delays. In light of

the foregoing, the Debtors respectfully request that the Case Management Motion be approved.




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             iii.   Debtors’ Motion for Entry of an Order (I) Extending the Time to File Schedules
                    and Statements; (II) Extending the Time to Schedule the Meeting of Creditors;
                    (III) Waiving the Requirements to File Equity Lists and Provide Notice to
                    Equity Security Holders; (IV) Authorizing the Debtors to File (A) A
                    Consolidated List of Counsel Representing Cyber Security Incident Claimants
                    and (B) A Consolidated List of Other Unsecured Creditors of the Debtors,
                    (V) Authorizing the Debtors to Prepare a Consolidated and Redacted List of
                    Creditors in Lieu of Submitting Separate and Reformatted Creditor Matrices
                    for Each Debtor; (VI) Approving the Form and Manner of Notifying Creditors
                    of the Commencement of these Chapter 11 Cases; and (VII) Granting Related
                    Relief (the “Creditors Matrix Motion”)

                121.    Through the Creditors Matrix Motion, the Debtors seek entry of an order

(a) extending the 14-day period to file schedules of assets and liabilities and statements of financial

affairs (collectively, the “Schedules and Statements”) by an additional 22 days; (b) authorizing the

Office of the United States Trustee for the Eastern District of Missouri (the “U.S. Trustee”) to

schedule the meeting of creditors after the 40-day deadline imposed by Bankruptcy Rule 2003(a);

(c) waiving the requirements to file a list of equity security holders (the “Equity List”) and to give

notice of the order for relief to all equity security holders for 23andMe Holding Co.; (d) authorizing

the Debtors to file a consolidated list of counsel representing Cyber Security Incident Claimants

(as defined below); (e) authorizing the Debtors to file a consolidated list of other unsecured

creditors of the Debtors; (f) authorizing the Debtors to (i) file a consolidated list of creditors in lieu

of submitting separate and reformatted creditor matrices for each Debtor and (ii) redact or withhold

certain confidential information of customers and personal information of individuals; (g) mail

initial notices through Kroll Restructuring Administration LLC (the “Claims and Noticing

Agent”); and (g) granting related relief.

                122.    I believe that good cause exists for granting an extension of the time to file

the Schedules and Statements. To prepare the Schedules and Statements, the Debtors must

compile information from books, records, and documents relating to claims, assets, leases, and

contracts from each Debtor entity. Given the size and complexity of the Debtors’ business and


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financial affairs, this information is voluminous and collecting it will require an enormous

expenditure of time and effort on the part of the Debtors, their employees, and their professional

advisors in the near term. Accordingly, the 22-day extension the Debtors seek pursuant to the

Creditors Matrix Motion is warranted because focusing the attention of key personnel on critical

operational and chapter 11 compliance issues during the early days of these Chapter 11 Cases will

maintain the stability of the Debtors’ business operations and facilitate the Debtors’ smooth

transition into chapter 11, thereby maximizing value for their estates, their creditors, and other

parties in interest.

                123.     I understand that, pursuant to Bankruptcy Rule 1007(d), a chapter 11 debtor

must file with its voluntary petition a list setting forth the names, addresses and claim amounts of

the creditors, excluding insiders, that hold the twenty largest unsecured claims in the debtor’s case

(the “Top 20 List”). I also understand that one of the primary purposes of filing a list of a debtor’s

largest unsecured creditors is to facilitate the U.S. Trustee’s evaluation of the types and amounts

of unsecured claims asserted against a debtor so that the U.S. Trustee can make an informed

decision when identifying potential candidates to serve on an official committee of unsecured

creditors, if one is appointed.

                124.     As discussed herein, numerous actions and claims have been filed or

asserted against the Debtors as a result of the Cyber Security Incident. Attempting to designate

certain individual Cyber Security Incident Claimants as holding the “largest” unsecured claims for

purposes of a Top 20 List would be arbitrary because the vast majority of pending claims are

disputed, contingent, and/or unliquidated and therefore would be difficult to value. I have been

informed that, for this reason, debtors in mass tort cases regularly (a) list law firms representing

plaintiffs who have filed or asserted claims against such debtors as part of a separate, standalone




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list in lieu of listing individual claimants or plaintiffs as part of the Top 20 List and (b) implement

certain procedures to provide notice to such claimants and their counsel. Accordingly, the Debtors

believe, and I agree, that it would be appropriate to (x) provide a consolidated list of all of the law

firms representing Cyber Security Incident Claimants who have filed or asserted claims arising out

of the Cyber Security Incident as of the Petition Date (the “Cyber Security Incident Counsel List”),

in lieu of listing individual Cyber Security Incident Claimants on a Top 20 List and (y) notice such

claimants in the manner provided therein. I believe that, in both cases, doing so would facilitate

the U.S. Trustee’s appointment of any official creditors’ committee to the extent one should be

appointed and avoid any unnecessary costs to the Debtors’ estate.

               125.    In addition to the Cyber Security Incident Counsel List, to provide the U.S.

Trustee with a clearer picture of the Debtors’ creditor constituency, the Debtors have prepared a

consolidated list of their thirty largest general unsecured creditors (the “Top 30 List”), excluding

any Cyber Security Incident claimants, as opposed to a Top 20 List for each Debtor. Because the

Debtors do not have any funded indebtedness and thus, the Debtors’ significant unsecured

creditors are captured on the Top 30 List, the Debtors will provide the U.S. Trustee with a

sufficiently clear picture of the Debtors’ unsecured creditor constituency. In addition, because a

large number of creditors may be shared amongst the Debtors, the Top 30 List will help alleviate

administrative burdens, costs, and the possibility of duplicative service in these Chapter 11 Cases.

               126.    Moreover, I understand that the Creditor Matrix Procedures instruct debtors

to follow specific formatting requirements for electronically filed creditor matrices. The Debtors,

working together with Kroll and A&M, have already prepared a single, consolidated list of all of

the Debtors’ creditors (the “Creditor Matrix”) in electronic format. I believe that permitting the

Debtors to maintain the Creditor Matrix, in lieu of filing individual and reformatted creditor




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matrices for each Debtor, is warranted in these Chapter 11 Cases to ease the administrative burden

of preparing individual creditor matrices for each Debtor and to avoid unnecessary cost, delay, and

an increased risk of error. I believe that the Creditor Matrix will be sufficient to allow Kroll to

provide notice to all creditors and other parties in interest during the Chapter 11 Cases.

               127.    I believe that redaction of the names, home and email addresses of natural

persons is appropriate in these cases because (a) such information may be subject to data protection

laws regulating the collection, storage, sharing, use, disclosure, processing, transferring and

protection of personal information, including but not limited to the CCPA, Section 5 of the FTC

Act, the UK GDPR, and the EU GDPR, and (b) disclosure risks violating such regulations and

other similar laws, exposing the Debtors to potential civil liability and significant financial

penalties. Accordingly, it is my belief that the Debtors have a duty to their customers and other

stakeholders to maintain the confidentiality of their personal information and redaction of such

information is warranted.

               128.    Finally, the Debtors also seek a waiver of certain of the requirements to file

a list of, and to provide notice directly to, equity security holders as to Debtor 23andMe Holding

Co. 23andMe Holding Co. is a publicly traded company with approximately 27.4 million shares

of common stock. Accordingly, I believe that preparing and submitting an Equity List with the

last known addresses for each such equity security holder and sending notices to all such parties

with respect to 23andMe Holding Co. will be expensive and time consuming.

               129.    In light of the foregoing, the Debtors respectfully request that the Creditor

Matrix Motion be granted.




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       B.      Operations-Related Motions Requesting Immediate Relief

              i.   Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility
                   Companies from Altering, Refusing, or Discontinuing Utility Services; (II)
                   Deeming Utility Companies to Have Adequate Assurance of Future Payment;
                   (III) Establishing Procedures for Determining Adequate Assurance of
                   Payment; and (IV) Granting Related Relief (the “Utilities Motion”)

               130.    Through the Utilities Motion, to ensure continued provision of utility

services (the “Utility Services”) to the Debtors in the ordinary course of operation of their

businesses, the Debtors seek entry of interim and final orders (a) prohibiting the Debtors’ utility

service providers (collectively, the “Utility Companies”) from altering, refusing, or discontinuing

utility services on account of unpaid prepetition invoices, (b) deeming the Utility Companies to

have adequate assurance of future performance, (c) establishing procedures for determining

additional adequate assurance of future payment and authorizing the Debtors to provide adequate

assurance of future payment to the Debtors’ Utility Companies, and (d) granting related relief. The

Debtors expect their available cash and cash made available under any postpetition financing

agreements will be more than sufficient to pay for the Debtors’ postpetition use. Nonetheless, the

Debtors propose establishing a segregated account into which the Debtors will deposit a sum equal

to approximately 50% of the Debtors’ estimated aggregate utility expenses for one month and,

additionally, have proposed standard procedures to address any request made by the Utility

Companies for additional adequate assurance.

               131.    Any disruption of the Debtors’ Utility Services would cause substantial and

irreparable harm to the Debtors’ business operations, their estates, and their ability to preserve and

maximize value through these Chapter 11 Cases. For the foregoing reasons, I believe that the relief

requested in the Utilities Motion is in the best interest of the Debtors, their estates, and their

creditors, and should therefore be approved.




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             ii.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Payment of Certain Taxes and Fees and (II) Granting Related Relief (the
                    “Taxes Motion”)

               132.    Through the Taxes Motion, the Debtors request entry of interim and final

orders (a) authorizing the Debtors to remit or pay (or use tax credits or other attributes to offset or

otherwise satisfy) certain taxes and fees (the “Taxes and Fees”) due and owing to various federal,

state, local, foreign, and other applicable authorities (the “Authorities”) that arose prior to the

Petition Date (including any Assessment determined by Audit or otherwise determined to be owed

for periods prior to the Petition Date), and (b) granting related relief, all as more fully set forth in

the Taxes Motion.

               133.    The Debtors pay and remit, as applicable, Taxes and Fees on a periodic

basis, typically remitting them monthly, quarterly, annually, or on other terms to the Authorities,

depending on the nature and incurrence of a particular Tax or Fee and as required by applicable

laws and regulations. Taxes and Fees typically (but not exclusively) are remitted and paid by the

Debtors through checks and electronic transfers that are processed through their banks and other

financial institutions or service providers. From time to time, the Debtors also receive tax credits

for overpayments or refunds in respect of Taxes or Fees. The Debtors use these credits in the

ordinary course of business to offset against future Taxes or Fees, or for other general corporate

purposes, or have the amount of such credits refunded to the Debtors.

               134.    The Debtors estimate that no more than approximately $481,700 in Taxes

and Fees have accrued as of the Petition Date or otherwise relate to the prepetition period and will

become due and owing to Authorities after the Petition Date, of which approximately $110,150

will become due to Authorities on or before the date on which a hearing is scheduled to consider

approval of this motion on a final basis.




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               135.    I believe the Debtors’ timely payment of the Taxes and Fees is necessary to

prevent the adverse consequences that likely would result from a failure to remit the payments,

including, but not limited to, causing Authorities to assert liens or seek to lift the automatic stay,

impose civil and/or criminal penalties, or modify, suspend, or revoke licenses that are necessary

to the Debtors’ continued operations. Such actions could materially disrupt the Debtors’ day-to-

day operations and impose significant costs on the Debtors’ estates. Failure to satisfy certain of

the prepetition Taxes or Fees may jeopardize the Debtors’ maintenance of good standing to operate

in the jurisdictions in which they do business. I also believe that if certain Taxes and Fees remain

unpaid, the Authorities may seek to recover such amounts directly from the Debtors’ directors,

officers, or employees, thereby distracting such key personnel from the administration of the

Chapter 11 Cases. Significant disruptions to the Debtors’ operations of these types threaten to

irreparably impair the Debtors’ efforts in the Chapter 11 Cases.

               136.    Moreover, I believe that the Court should authorize the payment of Taxes

and Fees because (a) certain of the Taxes and Fees may not constitute property of the Debtors’

estates, (b) certain of the Taxes and Fees are or may be priority claims. Absent payment of these

amounts, the Debtors may face serious disruptions and distractions during the administration of

the Chapter 11 Cases, thus hindering the Debtors’ efforts to maximize estate value through these

restructuring proceedings.

               137.    Specifically, I understand from counsel that certain Taxes or Fees are

collected or withheld by the Debtors on behalf of the applicable Authorities are held in trust by the

Debtors. Because the Debtors may not have an equitable interest in funds held on account of such

“trust fund” taxes, the Debtors should be permitted to pay those funds to the Authorities as they

become due. I also understand from counsel that claims for certain of the Taxes and Fees are or




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may be priority claims entitled to payment before general unsecured claims pursuant to section

507(a)(8) of the Bankruptcy Code. Therefore, payment of certain Taxes and Fees at this time only

affects the timing of the payment for the amounts at issue and will not unduly prejudice the rights

and recoveries of junior creditors. Payment of such Taxes and Fees will likely give Authorities no

more than that to which they otherwise would be entitled under a chapter 11 plan of reorganization

and will save the Debtors the potential interest expense, legal expense, penalties, and other fees

that might otherwise accrue on Taxes and Fees during these Chapter 11 Cases.

                138.    I also believe that some of these Authorities may initiate audits, attempt to

suspend the Debtors’ operations, file liens, seek to lift the automatic stay, and/or pursue other

remedies if the Debtors fail to pay the Taxes and Fees promptly. Such actions would further divert

attention and resources from the process of administering these Chapter 11 Cases and harm the

Debtors’ estates.

                139.    For the foregoing reasons, I believe that the relief requested in the Taxes

Motion is in the best interests of the Debtors, their estates, and their creditors, and should therefore

be approved.

             iii.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing (A)
                    Continued Use of Cash Management System, (B) Maintenance of Bank
                    Accounts and Business Forms, (C) Performance of Intercompany Transactions,
                    and (D) Certain Prepetition Obligations to be Honored; (II) Granting
                    Administrative Expense Priority Status to Postpetition Intercompany Claims
                    Against the Debtors; (III) Waiving Strict Compliance with 11 U.S.C. § 345(b)
                    and Certain Operating Guidelines, as Applicable; and (IV) Granting Related
                    Relief (the “Cash Management Motion”)

                140.    Through the Cash Management Motion, the Debtors seek entry of interim

and final orders authorizing the Debtors to (a) continue using their existing cash management

system and honoring prepetition obligations related thereto, (b) maintain their existing business

forms and books and records, and (c) continue certain intercompany transactions, and granting



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administrative expense priority to the intercompany claims. As described in detail in the Cash

Management Motion, the Debtors maintain an integrated cash management system in the ordinary

course of their operations. To lessen the disruption caused by the bankruptcy filings and maximize

the value of their estates in these Chapter 11 Cases, it is vital that the Debtors be permitted to

maintain their cash management system and be authorized to, inter alia, pay any outstanding bank

fees owed in relation to their cash management system, continue utilizing their corporate credit

cards, maintain their existing business forms, and continue engaging in ordinary course

intercompany transactions. The Debtors believe that each of their bank accounts complies with

section 345(b) of the Bankruptcy Code because it is maintained at a bank that is (a) an authorized

depository in accordance with the U.S. Trustee Guidelines and/or (b) insured by the Federal

Deposit Insurance Company.

               141.    If the Debtors are required to alter the way in which they collect and

disburse cash throughout the cash management system, I believe that their operations would

experience severe disruptions, which ultimately would frustrate the Debtors’ ability to effectuate

a restructuring and/or sale transaction and maximize the value of their estates for the benefit of all

stakeholders. It is, therefore, critical that the Debtors be able to continue to utilize their existing

cash management system to consolidate management of cash and centrally coordinate transfers of

funds to efficiently and effectively operate their business. Accordingly, the Debtors request that

the relief requested in the Cash Management Motion be approved.

             iv.   Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to Continue
                   Prepetition Insurance Policies and Pay All Prepetition Obligations in Respect
                   Thereof and (II) Granting Related Relief (the “Insurance Motion”)

               142.    Through the Insurance Motion, the Debtors request entry of an interim and

final order (a) authorizing the Debtors to (i) continue to maintain and administer their prepetition

insurance program and revise, extend, renew, supplement, or change policies thereunder, as


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needed, and (ii) pay or honor obligations arising under or in connection with their insurance

program, including prepetition obligations arising in the ordinary course of business, if any, and

(b) granting related relief.

                143.    In the ordinary course of the Debtors’ business and as more fully described

in the Insurance Motion, the Debtors maintain a comprehensive insurance program comprised of

approximately 34 insurance policies that are administered by various third-party insurance carriers.

These programs provide coverage for, among other things, losses related to the Debtors’ property,

automobiles, crime, cargo and stock throughput, cyber and technology liability, directors’ and

officers’ liability, employers’ liability, medical malpractice, workers’ compensation, and various

other property-related and general liabilities. In many instances, insurance coverage is required

by the various regulations, laws, and contracts that govern the Debtors’ commercial activities. The

Debtors do not believe that they owe any prepetition amounts to any broker or insurance carrier

on account of insurance premiums, retentions, deductibles, or broker fees. Out of an abundance

of caution, however, the Debtors seek the authority to honor any amounts owed on account of the

foregoing, including any prepetition amounts, in the ordinary course of business .

                144.    I believe that maintaining the Debtors’ insurance program, including paying

any premium payments, retentions, deductibles, and broker fees, is a crucial ordinary course of

business transaction, and essential to the preservation of the value of the Debtors’ business,

properties, and assets in these Chapter 11 Cases. Additionally, in many instances the maintenance

of these insurance programs is required by statute or regulation.          Furthermore, it is my

understanding that, under the Operating Guidelines for Chapter 11 Cases issued by the United

States Trustee for Region 13, the Debtors are obligated to maintain certain insurance coverage

during these Chapter 11 Cases, and such coverage is provided by certain of the policies included




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in the insurance program. Consequently, authority to pay any prepetition obligations related to the

insurance program—to the extent that the Debtors determine that such payment is necessary to

avoid cancellation, default, alteration, assignment, attachment, lapse, or any form of impairment

of the coverage, benefits or proceeds provided—is imperative.

                   145.   For the foregoing reasons, I believe that the relief requested in the Insurance

Motion is in the best interests of the Debtors, their estates, their creditors, and all parties in interest,

and should therefore be approved.

              v.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                      Debtors to (A) Pay Certain Prepetition Employee Wages and Benefits and
                      (B) Continue Employee Benefits Programs and Pay Related Obligations and
                      (II) Granting Related Relief (the “Wages Motion”)

                   146.   Through the Wages Motion, the Debtors seek authority to pay and honor

certain prepetition claims relating to, among other things, wages, salaries, other compensation,

payroll processing services, federal and state withholding taxes and other amounts withheld

(including garnishments, Workers’ share of insurance premiums, flexible and health savings

account contributions, 401(k) contributions, and taxes), reimbursable expenses, health insurance,

workers’ compensation benefits, life insurance, short- and long-term disability coverage, non-

insider severance, ordinary course non-insider bonus, non-insider retention programs, retirement

and savings plans, and other benefits that the Debtors have historically provided in the ordinary

course, all as more fully described in the Wages Motion (collectively, the “Compensation and

Benefits”).

                   147.   As discussed herein, the Debtors employ, in the aggregate, hundreds of full-

time and part-time employees, temporary workers, and independent contractors (collectively,

the “Workers”). In most cases, the Debtors’ Workers rely on the Compensation and Benefits

provided or funded by the Debtors to continue to pay their daily living expenses, and will be



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exposed to significant financial difficulties if the Debtors are not permitted to pay these

obligations. I believe that if the Debtors are unable to honor all such obligations, morale and

loyalty will be jeopardized at a time when the support of these individuals is crucial.

               148.    Moreover, a stable workforce is critical to the uninterrupted continuation of

the Debtors’ business and the preservation and maximization of the value of the Debtors’ estates

during these Chapter 11 Cases. Any significant number of departures or deterioration in morale

among the Debtors’ Workers at this time will immediately and substantially adversely impact the

Debtors’ efforts in chapter 11 and result in immediate and irreparable harm to the Debtors’ estates

and creditors. There is a real, immediate risk that if the Debtors are not authorized to continue to

honor their obligations to these parties in the ordinary course, the Debtors’ Workers would no

longer support and maintain the operations of the Debtors, thereby crippling them. In addition,

absent the relief requested by the Wages Motion, many of the Debtors’ Workers would

undoubtedly suffer hardship and, in many instances, serious financial difficulties, as the amounts

in question are needed to enable certain Workers to meet their own personal financial obligations.

               149.    Accordingly, I strongly believe that the relief requested in the Wages

Motion is essential to the continued operation of the Debtors’ business and will enable the Debtors

to operate during the Chapter 11 Cases without disruption, thereby maximizing value for the

Debtors’ estates, creditors, and other stakeholders. Additionally, I am advised by counsel that the

Debtors do not seek to compensate any Workers on behalf of prepetition obligations in an amount

that exceeds the statutory priority cap of $15,150 and the Debtors will not make any payments to

insiders that would violate the Bankruptcy Code. For these reasons, I believe that the Wages

Motion is in the best interests of the Debtors, their estates, and creditors, and, therefore, should be

approved.




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             vi.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Debtors to Maintain and Administer Their Customer Programs and Honor
                    Certain Prepetition Obligations Related Thereto and (II) Granting Related
                    Relief (the “Customer Programs Motion”)

                150.       Through the Customer Programs Motion, the Debtors seek entry of interim

and final orders (a) authorizing the Debtors to maintain and administer their customer programs

and honor certain prepetition obligations to customers in the ordinary course of business and (b)

granting related relief.

                151.       In the ordinary course of business and as more fully described in the

Customer Programs Motion, the Debtors provide certain incentives, discounts, promotions, and

accommodations, and administer certain related programs, to attract customers and maintain

positive customer relationships (collectively, the “Customer Programs”). The Debtors’ Customer

Programs include various subscription offerings, relationships with third-party online retail

partners, promotional offers, the issuance of gift cards through a third-party vendor, and a refund

and exchange program. The Customer Programs promote customer satisfaction and inure to the

goodwill of the Debtors’ businesses and the value of their brands. I believe that maintaining the

goodwill of the Debtors’ customers is critical to the Debtors’ ongoing operations in these Chapter

11 Cases and is necessary to allow the Debtors to compete within their markets and maximize

value.

                152.       Through the Customer Programs Motion, the Debtors seek authority to (a)

honor any prepetition obligations related to their Customer Programs and (b) out of an abundance

of caution, continue to honor the Customer Programs in the ordinary course of business on a

postpetition basis without disruption. I believe that satisfaction of prepetition obligations relating

to the Customer Programs, and the continuation of the Customer Programs in the ordinary course

of business on a postpetition basis, is necessary to the Debtors’ continued and uninterrupted



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operations during these Chapter 11 Cases. Continuing to administer the Customer Programs

without interruption during the pendency of these Chapter 11 Cases will help preserve value and

customer goodwill during these Chapter 11 Cases, and make the Debtors’ business more attractive

to prospective purchasers. In addition, I believe that providing the Debtors authority to replace,

implement, modify, and/or terminate one or more of the Customer Programs, in each case as the

Debtors deem appropriate and in their business judgment, is also appropriate.

                153.    For the foregoing reasons, I believe that the relief requested in the Customer

Programs Motion is in the best interests of the Debtors, their estates, their creditors, and all parties

in interest, and, therefore, should be approved.

            vii.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Debtors to Pay Prepetition Claims of (A) Certain Critical Vendors, (B) Lien
                    Claimants, (C) 503(B)(9) Claimants, and (IV) Foreign Vendors, (II) Granting
                    Administrative Expense Priority to and Authorizing the Payment of Certain
                    Outstanding Orders, and (II) Granting Related Relief (the “Critical Vendors
                    Motion”)

                154.    Through the Critical Vendors Motion, the Debtors seek entry of interim and

final orders (a) authorizing, but not directing, the Debtors to pay in the ordinary course of business

certain prepetition claims held by certain (i) Critical Vendors, (ii) Lien Claimants, (iii) 503(b)(9)

Claimants and (iv) Foreign Vendors (each as defined below and, collectively, the “Vendor

Claimants”), collectively, in an amount not to exceed $5,813,000 on an interim basis and

$5,823,000 on a final basis (b) granting administrative expense priority status to certain

Outstanding Orders (as defined below) and authorizing the payment of such obligations in the

ordinary course of business, and (c) granting related relief, all as more fully set forth in the Critical

Vendors Motion.

                155.    To effectuate their business model and ensure the uninterrupted provision

of goods and services to their customers, the Debtors rely on strong relationships with the Vendor



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Claimants. Any disruption in the provision of the critical supplies, materials and services the

Debtors source from their vendors would have far-reaching and adverse economic and operational

consequences on the Debtors’ business.

               156.    A critical component of the Debtors’ operations is the manufacture, supply,

distribution and processing of their saliva collection kits (the “Saliva Collection Kits”), which

provides the means for collecting and analyzing genetic information and other related services for

the Debtors’ customers. The Debtors do not have in-house manufacturing capabilities and instead

rely on third-party suppliers, which the Debtors have qualified in accordance with their quality

control system, to provide services and materials (including the Debtors’ Saliva Collection Kits,

bead chips, arrays, reagents or other materials and equipment used in the Debtors’ laboratory

operations) that are essential to the Debtors’ business.

               157.    The Debtors also operate a telehealth business through their “Lemonaid

Health” platform, which operates as a national online doctor’s office that provides medical care,

pharmacy fulfillment, and laboratory testing services. When medications are prescribed by

Lemonaid Health’s affiliated healthcare professionals, patients can use Lemonaid Health’s online

pharmacy for fulfillment of their medications. Lemonaid Health’s pharmacy is licensed in all 50

U.S. states and the District of Columbia. The Debtors rely on multiple third-party suppliers for

the fulfillment of their pharmaceutical orders.

               158.    The Vendor Claimants support nearly every aspect of the Debtors’ business,

including by: (a) manufacturing and supplying the Saliva Collection Kits and other laboratory

materials and equipment; (b) shipping the Saliva Collection Kits to and from customers;

(c) processing and analyzing the saliva samples provided by customers through the Saliva

Collection Kits; (d) fulfilling pharmaceutical orders that are submitted through the Debtors’




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Lemonaid Health’s online pharmacy; (e) advertising and marketing the Debtors’ products and

services; (f) providing customer support in each geographic region where the Debtors’ products

and services are made available; and (g) servicing the Debtors’ obligations to provide management

and administrative services to various non-Debtor affiliated entities pursuant to the terms of certain

management and service agreements. If these Vendor Claimants refuse to continue doing business

with the Debtors on account of outstanding prepetition amounts, replacing them would cause

significant delays in the Debtors’ ability to provide their services and also cause irreparable, and

potentially irreversible, damage to the Debtors’ business and their estates.

               159.    In determining which vendors to designate as Vendor Claimants, the

Debtors and their advisors undertook a comprehensive process to ensure that, among other criteria,

only vendors that provide goods or services necessary to preserve the value of the estates were

designated as Vendor Claimants. As part of this process, the Debtors generated a master “accounts

payable” schedule of various vendors with balances outstanding as of the Petition Date (excluding

the vendors which were analyzed in connection with the other first day motions, such as utility

providers or insurance brokers). Thereafter, the Debtors and their advisors determined whether

each vendor fell under one or more of the following categories: (a) such vendor met certain criteria

that led the Debtors to denote such vendor as a critical vendor (the “Critical Vendors”); (b) such

vendor was a Shipper or Warehouseman with potential warehouse liens (the “Lien Claimants”);

(c) such vendor provided goods which were received by the Debtors within the 20 days prior to

the Petition Date (the “503(b)(9) Claimants”) and (d) foreign services providers (the “Foreign

Vendors”). It is only these Vendor Claimants whom the Debtors request to pay.

               160.    Subject to the Court’s approval, the Debtors intend to pay the Vendor

Obligations as set forth in the Critical Vendors Motion. To that end, in return for paying the




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Vendor Obligations either in full or in part, the Debtors propose that the Debtors be authorized to

require Vendor Claimants to provide specified trade terms for the postpetition procurement of

goods and services from the Vendor Claimants. Specifically, the Debtors seek authorization to

condition payment of Vendor Obligations upon each Vendor Claimant’s agreement to continue

(a) continue or recommence supplying goods and services to the Debtors in accordance with trade

terms (including credit limits, pricing, timing of payments, availability, and other terms) at least

as favorable to the Debtors as those in place during the 12 months prior to the Petition Date, or on

other terms satisfactory to the Debtors (the “Customary Trade Terms”) and (b) agree that they shall

not be permitted to cancel any contract, agreement, or arrangement pursuant to which they provide

such goods and/or services to the Debtors during the course of these Chapter 11 Cases. The

Debtors also seek authorization, but not direction, to require certain Trade Claimants to enter into

a contractual agreement evidencing such Customary Trade Terms, the form of which is attached

to each of the Interim Order and the Final Order as Exhibit A (the “Trade Agreement”). The

Debtors reserve the right to require, at their discretion, that the Customary Trade Terms conditions

to payment be made in writing, either by use of the Trade Agreement or other form of written

agreement (including electronic mail).

               161.    Prior to the Petition Date, and in the ordinary course of business, the Debtors

may have ordered goods which will not be delivered until after the Petition Date

(collectively, the “Outstanding Orders”). To avoid becoming general unsecured creditors of the

Debtors’ estates with respect to such goods, certain suppliers may refuse to ship or transport such

goods (or may recall such shipments) with respect to such Outstanding Orders unless the Debtors

issue substitute purchase orders postpetition. To prevent any disruption to the Debtors’ business

operations, including obligating the Debtors to re-order goods that were ordered prior to the




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Petition Date, and given that goods delivered after the Petition date are afforded administrative

expense priority under section 503(b) of the Bankruptcy Code, the Debtors seek an order

(a) authorizing, but not directing, the Debtors to satisfy, in the Debtors’ sole election, certain

obligations arising from the acceptance of goods subject to Outstanding Orders in the ordinary

course of business, and (b) granting administrative expense priority under section 503(b) of the

Bankruptcy Code to such undisputed obligations.

               162.    For the foregoing reasons, I believe the relief requested in the Critical

Vendors Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest and will enable the Debtors to continue to effectively operate their businesses during these

Chapter 11 Cases, and should therefore be approved.

           viii.   Debtors’ Motion for Entry of Interim and Final Orders (I) Establishing
                   Notification and Hearing Procedures for Certain Transfers of and Declarations
                   of Worthlessness with Respect to Common Stock of 23andMe Holding Co.
                   Against Debtors and (II) Granting Related Relief (the “NOL Procedures
                   Motion”)

               163.    Through the NOL Procedures Motion, the Debtors seek entry of interim and

final orders authorizing the Debtors to establish notification and hearing procedures (the “NOL

Procedures”) to protect the potential value of net operating losses (“NOLs”) and certain other tax

attributes (collectively, the “Tax Attributes”) of the Debtors for U.S. federal income tax purposes

in connection with the reorganization of the Debtors. The NOL Procedures include separate

procedures applicable to the beneficial ownership (including direct and indirect ownership) of

23andMe Holding Co.’s common stock (the “Common Stock”) and any options or similar rights

to acquire such interests, as well as to any claim of a worthlessness deduction under sections 382

and 383 of the Internal Revenue Code of 1986, as amended (“IRC”) by a substantial shareholder

with respect to any beneficial ownership of Common Stock.




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                164.   The Debtors possess certain Tax Attributes, including, as of the end of their

2024 tax year, federal NOL carryovers in the amount of approximately $1,100,000,000 and a

federal tax asset basis (other than cash) of approximately $74 million. I understand that the Tax

Attributes may be of significant value to the Debtors and their estates because the Debtors can

generally carry forward their Tax Attributes to offset their future taxable income, thereby reducing

their future aggregate tax obligations. I further understand that such Tax Attributes may generally

be utilized by the Debtors to offset any taxable income generated by transactions consummated

during these Chapter 11 Cases (including with respect to any taxable disposition of some or all of

the Debtor’s assets). The value of the Tax Attributes will inure to the benefit of all of the Debtors’

stakeholders.

                165.   I understand that implementation of the NOL Procedures is necessary and

appropriate to enforce the automatic stay and, critically, to preserve the value of the Tax Attributes

for the benefit of the Debtors’ estates. I am advised that under sections 382 and 383 of the IRC,

certain transfers of, or declarations of worthlessness with respect to, Beneficial Ownership of

Common Stock prior to the consummation of a chapter 11 plan could limit the Debtors’ ability to

use the Tax Attributes. By establishing the NOL Procedures for monitoring certain transfers of,

and the claiming of worthless stock deduction with respect to, beneficial ownership of 23andMe

Holding Co.’s Common Stock, I believe that the Debtors can preserve their ability to seek the

necessary relief if it appears that any such action may impair the Debtors’ ability to utilize their

Tax Attributes. Moreover, the loss of these valuable estate assets could lead to significant negative

consequences for the Debtors, their estates, their stakeholders, and the overall reorganization

process.




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               166.    Importantly, I understand that the NOL Procedures do not bar all transfers

of, or declarations of worthlessness with respect to, Beneficial Ownership of Common Stock. The

Debtors seek to establish procedures only to monitor the types of transactions that would pose a

serious risk under the ownership change test pursuant to sections 382 and 383 of the IRC and to

preserve the Debtors’ ability to seek substantive relief if it appears that a proposed transfer or

declaration of worthlessness could jeopardize the Debtors’ utilization of the Tax Attributes.

Because of the Tax Attributes’ importance to the Debtors’ restructuring, and thus all parties in

interest, the benefits of implementing the Procedures outweigh subjecting a limited number of

transfers to the NOL Procedures.       Accordingly, I believe the relief requested in the NOL

Procedures Motion is in the best interests of the Debtors, their estates, and all other parties in

interest and should be granted in all respects.

             ix.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to Honor and Incur Obligations Related to Non-Debtor Professional
                   Medical Corporations and (II) Granting Related Relief] (the “PMC Motion”)

               167.    Through the PMC Motion, the Debtors seek entry of interim and final orders

authorizing the Debtors to honor, pay, or otherwise satisfy obligations incurred in relation to the

non-Debtor PMCs. As described herein and in the PMC Motion, the Debtors provide management

and administrative services to the PMCs that in turn provide medical services to patients through

the Debtors’ telehealth platform. The Debtors’ relationships with the PMCs and the PMC

Physicians are governed by contracts, the PMC MSAs, and structured to ensure compliance with

applicable laws limiting the ownership of medical practices to licensed physicians. The PMC-

related obligations are contractual obligations of the Debtors under the MSAs.

               168.    Under the PMC MSAs, the Debtors have various obligations and incur

certain costs owed to or on behalf of the PMCs that they seek authority to pay under the PMC

Motion in the ordinary course of business. The Debtors are seeking authority to pay certain of


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these costs pursuant to the Taxes Motion, Insurance Motion, Vendors Motion, and Wages Motion,

as applicable, and request authority to utilize their existing cash management system to account

for any such costs. However, if not authorized by the relief requested in those motions, the Debtors

seek authority to pay accrued and outstanding costs under the PMC MSAs and to continue to pay

all operating costs under the PMC MSAs as they become due.

               169.    The Debtors’ continued operation of their telehealth business is dependent

on their ability to provide management and administrative services to the PMCs, including

payment of the obligations under the PMC MSAs. I believe that the inability to maintain the

existing relationships with the PMCs would greatly inhibit the Debtors’ ability to support the

PMCs and related professionals in providing high-quality care to their patients. Even short-term

interruptions to the Debtors’ performance under the PMC MSAs could cause the PMCs to end

their relationships with the Debtors, which could threaten the Debtors’ ability to continue operating

their business. Accordingly, I believe the relief requested in the PMC Motion is in the best interests

of the Debtors’ estates and will enable the Debtors to effectively operate their business during

these Chapter 11 Cases.

       C.      Finance and Sale Related Motion

              i.   The DIP Motion

               170.    The factual predicates for the DIP Motion are set forth supra paragraphs

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            ii.     Debtors’ Motion for Entry of an Order (I) Approving Bidding Procedures for
                    the Sale of the Debtors’ Assets, (II) Scheduling Certain Dates and Deadlines
                    with Respect Thereto, (III) Approving the Form and Manner of the Notice
                    Thereof, (IV) Approving Procedures Regarding Entry into Stalking Horse
                    Agreement(s), If Any, (V) Establishing Notice and Procedures for the
                    Assumption and Assignment of Contracts and Leases, (VI) Authorizing the Sale
                    of the Debtors’ Assets Free and Clear of Claims, Interests, and Encumbrances,
                    (VII) Approving Procedures for the Sale, Transfer, or Abandonment of De
                    Minimis Assets, and (VIII) Granting Related Relief (the “Bidding Procedures
                    Motion”)

              171.      The factual predicates for the Bidding Procedures Motion are set forth supra

paragraphs 91-101 and 108-113.

       D.         Retention of Professionals

              172.      The Debtors will separately be seeking authority to retain and employ

various professionals in these Chapter 11 Cases. The Debtors will be seeking the retention of

(i) Paul, Weiss, Rifkind, Wharton & Garrison LLP as co-counsel, (ii) Carmody MacDonald P.C.

as co-counsel, (iii) Moelis & Company LLC as investment banker, (iv) Alvarez & Marsal North

America, LLC as financial advisor, (v) Kroll Restructuring Administration LLC as claims and

noticing agent and administrative advisor, (vi) Goodwin Procter as counsel to the Special

Committee and (vii) Lewis Rice LLC as counsel to the Special Committee.




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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information, and belief.

Dated: March 24, 2025


                                             /s/ Matthew Kvarda
                                             Matthew Kvarda
                                             Chief Restructuring Officer
